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                        EXHIBIT D
                    NPBL                                Exhibit List
                              Including CSX Objections


   The following key shall apply to CSX’s objections to NPBL’s Exhibit List:

         NO = No objection
         IR = Irrelevant (Rule 401/402)
         M = Misleading/Misrepresentation (Rule 403)
         CON = Confusion (Rule 403)
         C = Cumulative / Asked and Answered (Rule 403)
         P = Unduly Prejudicial (Rule 403)
         IE = Impermissible expert testimony (Rule 701/702)
         H = Hearsay (Rule 802)
         DH = Double Hearsay or Hearsay within Hearsay (Rule 805)
         F = Lacks Foundation or Authentication (Rule 901)
         IN = Incomplete
         ID = Lacks Identification, exhibit not described with reasonable particularity
         NP = Not Produced
         MIL = As addressed in CSX’s Motions in Limine
         S = Calls for Speculation (Rule 403, 701)
         PK = Lack of Personal Knowledge (Rule 602)
         A = Argumentative (Rule 403)
         LC = Calls for a Legal Conclusion
         PII = Reveals personal identifying information
         ACP/AWP = Privileged information or communication
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                                                     Exhibit D - NPBL Amended Exhibit List


  Ex. No.   Description                             Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                             Reference

    1       2019 CSX Subsidy Agreement              CSXT0076243       CSXT0076244            Capozzi, Thomas        F, IR, H, CON, M, P
                                                                                             (January 22, 2021)
                                                                                             Exhibit 10


    2       Moved to Joint Exhibit List
    3       Moved to Joint Exhibit List
    4       NPBL Articles of Incorporation dated CSXT0024552          CSXT0024556                                   NO
            March 19, 1982

     5      Moved to Joint Exhibit List
     6      Moved to Joint Exhibit List
     7      Moved to Joint Exhibit List
     8      Moved to Joint Exhibit List
     9      Moved to Joint Exhibit List
    10      Moved to Joint Exhibit List
    11      Moved to Joint Exhibit List
    12      Moved to Joint Exhibit List
    13      March 23, 2018 letter from DiDeo to     CSXT100329        CSXT100342             Complaint, Exhibit E   NO
            Moss re: 2018 rate proposal
                                                                                             Armbrust, Steven
                                                                                             (March 11, 2020)
                                                                                             Exhibit 25

                                                                                             CSXT 30(b)(6)
                                                                                             (January 13, 2021)
                                                                                             Exhibit 12

                                                                                             Burns, Michael
                                                                                             (December 3, 2020)
                                                                                             Exhibit 2

                                                                                             Armbrust, Steven
                                                                                             (March 25, 2021)
                                                                                             Exhibit 2

                                                                                             Swafford, Jermaine
                                                                                             (December 15, 2020)
                                                                                             Exhibit 10




    14      April 6, 2018 letter from Armbrust to   CSXT0100552       CSXT0100559            Complaint, Exhibit F   NO
            NPBL and NS re: remedial actions
            demand                                                                           CSXT 30(b)(6)
                                                                                             (January 13, 2021)
                                                                                             Exhibit 13

                                                                                             Armbrust, Steven
                                                                                             (March 11, 2020)
                                                                                             Exhibit 27

                                                                                             Burns, Michael
                                                                                             (December 3, 2020)
                                                                                             Exhibit 5




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                                                       Exhibit D - NPBL Amended Exhibit List


  Ex. No.   Description                               Bates Begin        Bates End             Dep. Exhibit or Alt.   Objections
                                                                                               Reference

    15      Jacksonville Port Terminal Railroad, NPBL028278              NPBL028315            Girardot, Rob          F, H
            Reciprocal Switching Tariff effective                                              (March 17, 2021)
            March 1, 2021                                                                      Exhibit 8




    16      2/3/2021 Expert Report of Thomas                                                   Crowley, Tom           F, IR, M, CON, C, P, H, IE,
            Crowley                                                                            (March 31, 2021)       MIL
                                                                                               Exhibit 1




    17      Crowley Table 3 Tariffs                   NPBL028227         NPBL028239                                   M, CON, IE, H, DH, F, MIL

    18      Crowley Table 2 Tariffs                   NPBL028213         NPBL028226                                   M, CON, IE, H, DH, F, MIL

    19      Crowley Support for Calculations          NPBL028201         NPBL028212                                   M, CON, IE, H, DH, F, MIL

    20      All exhibits, tables, and figures in or                                                                   M, CON, IE, H, DH, F, MIL
            attached to Expert Report of Thomas
            Crowley dated 2/3/2021
    21      Google Earth Map of Rail Lines                                                     NPBL 30(b)(6)          NO
                                                                                               (February 14, 2020)
                                                                                               Exhibit 10




    22      NPBL Map                                                                           Coleman, Donna         NO
                                                                                               (March 4, 2020)
                                                                                               Exhibit 6




    23      Maps of NIT                               SDT RES 000021;                          Capozzi, Thomas        NO
                                                      SDT RES 000023;                          (January 22, 2021)
                                                      SDT RES 000025                           Exhibit 2




    24      Moved to Joint Exhibit List
    25      Moved to Joint Exhibit List
    26      Moved to Joint Exhibit List
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    46      Moved to Joint Exhibit List
    47      Moved to Joint Exhibit List



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                                                  Exhibit D - NPBL Amended Exhibit List


  Ex. No.   Description                         Bates Begin        Bates End              Dep. Exhibit or Alt.   Objections
                                                                                          Reference

    48      Moved to Joint Exhibit List
    49      Moved to Joint Exhibit List
    50      Moved to Joint Exhibit List
    51      Moved to Joint Exhibit List
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    85      Moved to Joint Exhibit List
    86      Moved to Joint Exhibit List
    87      Moved to Joint Exhibit List
    88      Moved to Joint Exhibit List
    89      Moved to Joint Exhibit List
    90      Withdrawn
    91      June 16, 2009 Ingram letter to Stinson CSXT0080856     CSXT0080857            Armbrust, Steven       NO
            re: rate structure                                                            (3/11/2020)
                                                                                          Exhibit 7

                                                                                          Booth, John
                                                                                          (3/12/2020)
                                                                                          Exhibit 4

                                                                                          Ingram, Tony
                                                                                          (11/18/2020)
                                                                                          Exhibit 7


    92      Projected Line Haul Revenue/ Cost   CSXT0082069                               Armbrust, Steven       NO
            Analysis 2010 Budget                                                          (3/11/2020)
                                                                                          Exhibit 8




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                                                    Exhibit D - NPBL Amended Exhibit List


  Ex. No.   Description                            Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                            Reference

    93      October 2009 email re: rate committee CSXT0082066        CSXT0082069            Booth, John            NO
            information                                                                     (3/12/2020)
                                                                                            Exhibit 20

                                                                                            Allan, James
                                                                                            (3/13/2020)
                                                                                            Exhibit 8

    94      January 2011 email string re: email    CSXT0082577       CSXT0082579            Armbrust, Steven       NO
            string re: "X" Train - Portsmouth to                                            (3/11/2020)
            Wilmington requested                                                            Exhibit 9

                                                                                            Allan, James
                                                                                            (3/13/2020)
                                                                                            Exhibit 14

                                                                                            Houfek, Ryan
                                                                                            (12/9/2020)
                                                                                            Exhibit 9
                                                                                            MacDonald, Tony
                                                                                            (1/20/2021)
                                                                                            Exhibit 2


    95      February 2019 CSXT email string re: CSXT00103955                                Armbrust, Steven       F, H, IR, CON, M
            Cordele Discussion                                                              (3/11/2020)
                                                                                            Exhibit 10


    96      Withdrawn
    97      July 23, 2010 Booth to NPBL re: Rate NPBL007431          NPBL007436             Armbrust, Steven       NO
            Proposal                                                                        (3/11/2020)
                                                                                            Exhibit 13

                                                                                            Allan, James
                                                                                            (3/13/2020)
                                                                                            Exhibit 15


    98      November 2010 email string re: NPBL CSXT0109886          CSXT0109908            Booth, John            NO
            Agreement to send over (via pdf) to                                             (3/12/2020)
            Donna with draft agreement                                                      Exhibit 30

                                                                                            Armbrust, Steven
                                                                                            (3/11/2020)
                                                                                            Exhibit 14




    99      December 27, 2010 CSXT Memo to NPBL012284                NPBL012287             Armbrust, Steven       NO
            Board re: NPBL management response                                              (3/11/2020)
            to CSXT rate proposal                                                           Exhibit 16


   100      September 2010 email re: comments      NPBL015430                                                      NO
            and suggestion to rate proposal
   101      September 3, 2010 CSXT Memo to         NPBL015431        NPBL015433             Armbrust, Steven       NO
            Board re: NPBL Management                                                       (3/11/2020)
            Response to CSXT Rate Proposal                                                  Exhibit 17


   102      August 2012 email string re: VIT at    CSXT0087165       CSXT0087167            Armbrust, Steven       F
            APMT                                                                            (3/11/2020)
                                                                                            Exhibit 18




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                                                      Exhibit D - NPBL Amended Exhibit List


  Ex. No.   Description                              Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                              Reference

   103      November 2015 email string re:           CSXT0011147       CSXT0011149            Armbrust, Steven       F, H, DH, CON
            CWRY rate negotiations                                                            (3/11/2020)
                                                                                              Exhibit 19


   104      April 13, 2011 NPBL Board of             NPBL017933        NPBL017938             Armbrust, Steven       NO
            Director and Stockholder meeting                                                  (3/11/2020)
            minutes                                                                           Exhibit 20


   105      January 2017 email string re: NIT:       CSXT0096707       CSXT0096711            Girardot, Rob          F, H
            Barge analysis                                                                    (1/12/2021)
                                                                                              Exhibit 22

   106      February 2017 email string re: OOCL CSXT0096883            CSXT0096884            Armbrust, Steven       F, H
                                                                                              (3/11/2020)
                                                                                              Exhibit 22


   107      April 2018 email string re: rate         CSXT0119685       CSXT0119686            Armbrust, Steven       NO
            proposal for long term rail service to                                            (3/11/2020)
            NIT                                                                               Exhibit 26

                                                                                              Burns, Michael
                                                                                              (12/3/2020)
                                                                                              Exhibit 4

                                                                                              Swafford, Jermaine
                                                                                              (12/15/2020)
                                                                                              Exhibit 14

                                                                                              CSXT 30(b)(6)
                                                                                              (1/13/2021)
                                                                                              Exhibit 14




   108      April 16, 2018 Armbrust to NPBL and CSXT0151971            CSXT0151975            Armbrust, Steven       NO
            NS re: Election of NPBL directors at                                              (3/11/2020)
            April 2018 annual meeting of NPBL                                                 Exhibit 28
            Shareholders

   109      June 22, 2018 Ambrust to NPBL re:        NSR_00000001      NSR_00000015           Armbrust, Steven       NO
            demand to take immediate action                                                   (3/11/2020)
                                                                                              Exhibit 29


   110      April 2014 email string re: specific     CSXT0088558       CSXT0088559            Armbrust, Steven       F, H, IR, CON
            notes from Cannon voicemail and                                                   (3/11/2020)
            related bylaws                                                                    Exhibit 30


   111      December 29, 2010 NPBL Board of          NPBL015269        NPBL015273             Armbrust, Steven       NO
            Director meeting minutes                                                          (3/11/2020)
                                                                                              Exhibit 31


   112      CSXT Answers to Moss Discovery                                                    Armbrust, Steven       F, IR, ID
                                                                                              (3/11/2020)
                                                                                              Exhibit 32




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                                                      Exhibit D - NPBL Amended Exhibit List


  Ex. No.   Description                              Bates Begin       Bates End              Dep. Exhibit or Alt.     Objections
                                                                                              Reference

   113      April 20, 2009 letter Coleman to         CSXT0080664       CSXT0080701            Booth, John              NO
            CSXT re: information re: rate                                                     (3/12/2020)
            committee meeting in 2006.                                                        Exhibit 3

   114      Feburary 2009 email string re: NPBL      CSXT0109353       CSXT0109354            Booth, John              NO
            overview with NPBL presentation                                                   (3/12/2020)
            attached                                                                          Exhibit 6

                                                                                              Ingram, Tony
                                                                                              (11/18/2020)
                                                                                              Exhibit 3

   115      July 2009 email re: questions on the     NSR_00084675                             Booth, John              NO
            rate committee packet                                                             (3/12/2020)
                                                                                              Exhibit 10

                                                                                              Allan, James
                                                                                              (3/13/2020)
                                                                                              Exhibit 7

   116      July 23, 2009 letter Ingram to Stinson NS00007056                                 Booth, John              NO
            re: request for information regarding                                             (3/12/2020)
            NPBL properties                                                                   Exhibit 11

   117      July 2009 email string re: need          CSXT0124768       CSXT0124782            Booth, John              NO
            documents for the rate committee                                                  (3/12/2020)
            meeting                                                                           Exhibit 12

                                                                                              Houfek, Ryan
                                                                                              (12/9/2020)
                                                                                              Exhibit 11

                                                                                              Allan, James
                                                                                              (3/13/2020)
                                                                                              Exhibit 2

   118      July 2009 CSXT email string re:          CSXT0025096       CSXT0025111            Booth, John              F
            CWRY interchange agreement                                                        (3/12/2020)
                                                                                              Exhibit 13

   119      August 2009 email re: other short line NSR_00084666        NSR_00084667           Booth, John              NO
            tariffs                                                                           (3/12/2020)
                                                                                              Exhibit 14

   120      August 2009 emails re: rate committee CSXT0025121          CSXT0025122            Booth, John              NO
            question                                                                          (3/12/2020) Exhibit 16


   121      August 2009 email string re:                                                      Booth, John              NO
            NSRR/NPBL Carolina Junction                                                       (3/12/2020)
            permanently disabled.                                                             Exhibit 17

   122      August 2009 email string re: questions                                            Booth, John              NO
            about agreements                                                                  (3/12/2020)
                                                                                              Exhibit 18

   123      September 2009 email string re:          CSXT0081955       CSXT0081979            Booth, John              NO
            questions about agreements                                                        (3/12/2020)
                                                                                              Exhibit 19

   124      October 15, 2009 letter, Booth to  NS00008025                                     Booth, John              NO
            Stinson re: recommendation of CSXT                                                (3/12/2020)
            rate committee representatives                                                    Exhibit 21




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                                                      Exhibit D - NPBL Amended Exhibit List


  Ex. No.   Description                              Bates Begin        Bates End             Dep. Exhibit or Alt.   Objections
                                                                                              Reference

   125      December 2009 email string re: CSX       CSXT0082298        CSXT0082299           Booth, John            F
            joint facility agreements                                                         (3/12/2020)
                                                                                              Exhibit 22

   126      January 2010 email string re: X Train - CSXT 0083577        CSXT0083579           Booth, John            NO
            Portsmouth to Wilmington requested                                                (3/12/2020)
                                                                                              Exhibit 23

   127      July 2010 email string re: NPBL          CSXT0083675                              Booth, John            NO
            operating plan                                                                    (3/12/2020)
                                                                                              Exhibit 25

   128      July 19, 2010 letter Booth to NPBL re:                                            Booth, John            NO
            Rail service connection to NIT - rate                                             (3/12/2020)
            proposal and operating/financial plan                                             Exhibit 26

   129      July 23, 2010 letter Booth to NPBL re: NS00007353                                 Booth, John            NO
            Rail service connection to NIT - rate                                             (3/12/2020)
            proposal and operating/financial plan                                             Exhibit 27

   130      August 5, 2010 Stinson letter to BOD NPBL007438             NPBL007439            Booth, John            NO
            re: management review of CSXT                                                     (3/12/2020)
            proposal                                                                          Exhibit 28

   131      August 16, 2010 letter Stinson to        CTRL_HC00001373                          Booth, John            NO
            Booth re: rate proposal                                                           (3/12/2020)
                                                                                              Exhibit 29

   132      November 2010 email string re: NPBL CSXT0084772             CSXT0084774           Booth, John            NO
            agreement to send over (via pdf) to                                               (3/12/2020)
            Donna                                                                             Exhibit 31

   133      January 2011  February 2011 email       CSXT0086053        CSXT0086054           Booth, John            NO
            string re: Port Norfolk Property offer                                            (3/12/2020)
                                                                                              Exhibit 33

   134      Port Strategy Review - Intermodal        CSXT0124777        CSXT0124781           Allan, James           NO
                                                                                              (3/13/2020)
                                                                                              Exhibit 1

                                                                                              Eliasson, Fredrik
                                                                                              (1/8/2021)
                                                                                              Exhibit 1


   135      January - June 2009 Load Analysis        CSXT0025122                              Allan, James           NO
                                                                                              (3/13/2020)
                                                                                              Exhibit 4

   136      September 2009 email re: Conrail         CSXT0081882        CSXT0081893           Allan, James           F, IR, CON, P
            parable                                                                           (3/13/2020)
                                                                                              Exhibit 5

   137      July 2009 email re: rate committee       NPBL015022         NPBL015071            Allan, James           NO
            packet with information for rate                                                  (3/13/2020)
            committee meeting                                                                 Exhibit 6

   138      Quick reference of NPBL switching        CSXT0082068                              Allan, James           NO
            Tariff 8100-1 effective January 1,                                                (3/13/2020)
            2010                                                                              Exhibit 9

   139      October 2009 email string re:            CSXT0082144                              Allan, James           NO
            Recommendations of CSXT Rate                                                      (3/13/2020)
            Committee Representatives                                                         Exhibit 10




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                                                  Exhibit D - NPBL Amended Exhibit List


  Ex. No.   Description                          Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                          Reference

   140      October 15, 2009 letter, Booth to  CSXT0082145         CSXT0082147            Allan, James           NO
            Stinson re: recommendation of CSXT                                            (3/13/2020)
            rate committee representatives                                                Exhibit 11

   141      April 2020 email string re: April 14th CSXT0008295                            Allan, James           NO
            minutes                                                                       (3/13/2020)
                                                                                          Exhibit 17

                                                                                          Eliasson, Fredrik
                                                                                          (1/8/2021)
                                                                                          Exhibit 11


   142      July 2009 email string re: need      CSXT0081356       CSXT0081357            Allan, James           F, H, C
            documents for the rate committee                                              (3/13/2020)
            meeting                                                                       Exhibit 18

   143      CSX Article: CSXT Names Rail                                                  Ingram, Tony           NO
            Veteran Tony Ingram as Chief                                                  (11/18/2020)
            Operating Officer                                                             Exhibit 1

   144      Rail Insider Article: CSX wagers on a                                         Ingram, Tony           F, H, DH
            public-private partnership to place the                                       (11/18/2020)
            double stack National Gateway in the                                          Exhibit 2
            intermodal win column
   145      April 2009 email string re: CSXT        NPBL006970     NPBL006974             Ingram, Tony           NO
            purchase proposal                                                             (11/18/2020)
                                                                                          Exhibit 4

   146      April 20, 2009 letter Coleman to       NPBL009639      NPBL009642             Ingram, Tony           NO
            Ingram responding to request for 2006                                         (11/18/2020)
            rate committee information/file                                               Exhibit 6
            request
   147      July 23, 2009 letter Ingram to Stinson NSR_00184149    NSR_00184193           Ingram, Tony           NO
            re: request for information regarding                                         (11/18/2020)
            NPBL properties                                                               Exhibit 8

   148      July 23, 2009 letter by Ingram and   NPBL015656        NPBL015660             Ingram, Tony           NO
            Clement to NPBL re: demand for right                                          (11/18/2020)
            to inspect books and records                                                  Exhibit 9

   149      July 24, 2009 letter Stinson to Ingram NPBL006571      NPBL006572             Ingram, Tony           F
            re: request for information                                                   (11/18/2020)
                                                                                          Exhibit 10

   150      February 8, 2008 Unanimous Written NPBL017779          NPBL017784             Ingram, Tony           F
            Consent of Board of Directors, signed,                                        (11/18/2020)
            re: sale of property to VPA                                                   Exhibit 11

   151      Memorandum for Recordation in the NPBL019887           NPBL019891             Ingram, Tony           NO
            Minutes of the Board Meeting by                                               (11/18/2020)
            CSXT - September 4, 2009 Board                                                Exhibit 13
            Meeting
   152      October 23, 2009 letter Stinson to CSXT0125045         CSXT0125057            Ingram, Tony           NO
            Ingram and Clement re: NPBL Board                                             (11/18/2020)
            Meeting, Monday, October 26                                                   Exhibit 16

   153      October 16, 2009 Stinson letter to   NPBL007101        NPBL007112             Ingram, Tony           NO
            Ingram responding to October 15,                                              (11/18/2020)
            2009 letter                                                                   Exhibit 17

   154      October 22, 2009 Ingram to           NSR_00074086      NSR_00074087           Ingram, Tony           NO
            Stinson/Coleman re: NPBL Reply to                                             (11/18/2020)
            CSXT Memorandum                                                               Exhibit 18




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  Ex. No.   Description                             Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                             Reference

   155      2007-2009 emails re: NPBRR - lease      CSXT0082393       CSXT0082396            Ingram, Tony           F
            on Port Norfolk yard tracks 1,3, 7 in                                            (11/18/2020)
            Portsmouth, Virginia                                                             Exhibit 19

   156      October 2009 email string re: NPBL - CSXT0082083          CSXT0082086            Ingram, Tony           F, IN
            FYI: Rate Committee Info                                                         (11/18/2020)
                                                                                             Exhibit 20

   157      JOC.com: Port of Virginia sets date                                              Wagel, Christopher     F, IR, H
            for NIT trucker appointments                                                     (12/7/2020)
                                                                                             Exhibit 2


   158      April 2019 CSXT email string re:        CSXT0073827       CSXT0073828            Wagel, Christopher     F, H
            Meeting with Chris Wagel and VIT                                                 (12/7/2020)
            issues                                                                           Exhibit 3


   159      November 2019 CSXT email string re: CSXT0154770           CSXT0154772            Wagel, Christopher     H
            CSX Volumes                                                                      (12/7/2020)
                                                                                             Exhibit 4


   160      August 2019 CSXT email string re:       CSXT0004020       CSXT0004021            Wagel, Christopher     NO
            VA ports closing                                                                 (12/7/2020)
                                                                                             Exhibit 5


   161      October 2019 CSXT email string re:      CSXT0077865       CSXT0077873            Wagel, Christopher     F, H, CON
            PNCT/EZMT concerns for Maersk                                                    (12/7/2020)
                                                                                             Exhibit 6


   162      April 2019 email string, CSXT, VIT, CSXT0074717           CSXT0074718            Wagel, Christopher     NO
            Hampton Roads Chassis Pool II, LLC                                               (12/7/2020)
                                                                                             Exhibit 7


   163      April 2019 CSXT email string re:        CSXT0074541       CSXT0074552            Wagel, Christopher     F, IR, H
            Aging Exports at Portsmouth                                                      (12/7/2020)
                                                                                             Exhibit 8


   164      April 14, 2009 Memo to Clement from CSXT0024736           CSXT0024738            Houfek, Ryan           F, M, CON
            Houfek re: Near term Norfolk                                                     (12/9/2020)
            Commercial Plan                                                                  Exhibit 1

   165      March 2010 email string re: Today's     CSXT0082724       CSXT0082726            Houfek, Ryan           F
            CSX meeting with VPA/VIT                                                         (12/9/2020)
                                                                                             Exhibit 2

   166      April 2015 email string re: CMA         CSXT0037048       CSXT0037049            Houfek, Ryan           F
            Virginia Options, with powerpoint                                                (12/9/2020)
            attached.                                                                        Exhibit 3

                                                                                             Strongosky, Jay
                                                                                             (12/8/2020)
                                                                                             Exhibit 23

                                                                                             Girardot, Rob
                                                                                             (1/12/2021)
                                                                                             Exhibit 17




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  Ex. No.   Description                           Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                           Reference

   167      May 2015 email string re: NS           CSXT0038572      CSXT0038575            Houfek, Ryan           F, H
            Crossing at Jax Intermodal                                                     (12/9/2020)
            Terminal/Request to Cross CSX to                                               Exhibit 4
            Increase Intermodal Capacity
            Jacksonville
   168      May 2015 email string re: NS           CSXT0038582      CSXT0038584            Girardot, Rob          F, H, CON
            Crossing at Jax Intermodal                                                     (1/12/2021)
            Terminal/Request to cross CSX to                                               Exhibit 21
            Increase Intermodal capacity,
            Jacksonville
   169      October 2015 email string re: CSX lift CSXT00470738                            Houfek, Ryan           NO
            agreement with VIT                                                             (12/9/2020)
                                                                                           Exhibit 5

   170      Withdrawn
   171      May 2016 email string re: Inland      CSXT0045124       CSXT0045128            Houfek, Ryan           F, H, DH, CON
            pricing via Baltimore                                                          (12/9/2020)
                                                                                           Exhibit 7

   172      January 2011 email string re: VIT lift CSXT0085628      CSXT0085629            Houfek, Ryan           NO
            fee proposal for conference call                                               (12/9/2020)
                                                                                           Exhibit 8

                                                                                           Kendall, Quintin
                                                                                           (1/14/2021)
                                                                                           Exhibit 12


   173      December 2016 email string re: OOCL CSXT0002920         CSXT0002925            Houfek, Ryan           NO
            Eastern Railroad Volumes/Zim                                                   (12/9/2020)
            Volumes                                                                        Exhibit 10

   174      May 2019 email string re: Cosco       CSXT 0074937      CSXT0074939            Strongosky, Jay        F, H, IR
            Slides                                                                         (12/8/2020)
                                                                                           Exhibit 1


   175      Withdrawn
   176      CSXT slides: ZIM Integrated Shipping CSXT0052366                               Strongosky, Jay        F
            Services & CSXT Intermodal                                                     (12/8/2020)
                                                                                           Exhibit 3


   177      Intermodal 101: An introduction to                                             Strongosky, Jay        F, IR
            intermodal rail                                                                (12/8/2020)
                                                                                           Exhibit 4


   178      Thomson Reuters Streetevents Edited                                            Strongosky, Jay        F, H, CON
            Transcript: CSX Q4 2019 CSXT                                                   (12/8/2020)
            Corp. Earnings Call                                                            Exhibit 5


   179      May 2014 CSXT email string            CSXT0032082       CSXT0032085            Strongosky, Jay        F, H
            attaching Crowley Meeting notes                                                (12/8/2020)
                                                                                           Exhibit 6

                                                                                           Kenney, Maryclare
                                                                                           (12/11/2020)
                                                                                           Exhibit 3




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  Ex. No.   Description                             Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                             Reference

   180      May 2015 email string re: Yang Ming CSXT0038547           CSXT0038548            Strongosky, Jay        F, H, CON
                                                                                             (12/8/2020)
                                                                                             Exhibit 7


   181      July 2016 email string re: WCSAM        CSXT0046487       CSXT0046489            Strongosky, Jay        F, H, DH, CON
            service dropping NY and calling                                                  (12/8/2020)
            Philadelphia                                                                     Exhibit 8


   182      January 11, 2018 appointment with       CSXT0003542                              Strongosky, Jay        H, F
            email string re: ONE Pre-call                                                    (12/8/2020)
            discussion and call with ONE to                                                  Exhibit 9
            discuss bid status

   183      December 2017 email string re: ZIM      CSXT0063241       CSXT0063243            Strongosky, Jay        F, H, CON
            request for service from NY to                                                   (12/8/2020)
            Pittsburgh                                                                       Exhibit 10

                                                                                             Piacente, Dean
                                                                                             (1/15/2021)
                                                                                             Exhibit 1




   184      January-February 2018 email string re: CSXT0003625        CSXT0003628            Strongosky, Jay        F, H
            Imports                                                                          (12/8/2020)
                                                                                             Exhibit 11


   185      October 2015 email string re:           CSXT0001792       CSXT0001795            Strongosky, Jay        F, H, PK
            international contracts                                                          (12/8/2020)
                                                                                             Exhibit 12


   186      January 2017 email string re: Maersk    CSXT0052080       CSXT0052083            Strongosky, Jay        F, H, CON, M, IR
            possibly shifting imports and exports                                            (12/8/2020)
            from Virginia to NYNJ                                                            Exhibit 13

                                                                                             Girardot, Rob
                                                                                             (1/12/2021)
                                                                                             Exhibit 3


   187      January 2018 email string re: PMT       CSXT0013337       CSXT0013339            Strongosky, Jay        F, H, DH
            Rail and CSX                                                                     (12/8/2020)
                                                                                             Exhibit 14

                                                                                             Girardot, Rob
                                                                                             (1/12/2021)
                                                                                             Exhibit 10


   188      March 2018 email string re: Columbia CSXT0065147          CSXT0065150            Strongosky, Jay        F, H, IR, CON, M, P
            Charleston PMT to NIT                                                            (12/8/2020)
                                                                                             Exhibit 15

                                                                                             Girardot, Rob
                                                                                             (1/12/2021)
                                                                                             Exhibit 11

                                                                                             Capozzi, Thomas
                                                                                             (1/22/2021)
                                                                                             Exhibit 19




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  Ex. No.   Description                            Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                            Reference

   189      CSX Q1 2018 CSX Corp. Earnings                                                  Strongosky, Jay        F, IR, M, CON, P, H
            Call                                                                            (12/8/2020)
                                                                                            Exhibit 16


   190      January 2017 email string re: 2017     CSXT0003042       CSXT0003044            Strongosky, Jay        NO
            CSXT Contract Offer to Hyundai                                                  (12/8/2020)
                                                                                            Exhibit 17


   191      August 2016 email string re: ICTF      CSXT0046708       CSXT0046712            Strongosky, Jay        F, H, DH, CON, IR
            rates/MOL characterizations:                                                    (12/8/2020)
            Confidential                                                                    Exhibit 18

                                                                                            CSXT 30(b)(6)
                                                                                            (1/13/2021)
                                                                                            Exhibit 22




   192      February-March 2017 CSXT email         CSXT0097050       CSXT0097052            Strongosky, Jay        F, H, DH
            string re: accommodation of OOCL                                                (12/8/2020)
            growth by CSXT and VIT                                                          Exhibit 19

                                                                                            Piacente, Dean
                                                                                            (1/15/2021)
                                                                                            Exhibit 13




   193      March 2017 email string re: ZIM-       CSXT0117504       CSXT0117507            Strongosky, Jay        NO
            Norfolk NIT Activity                                                            (12/8/2020)
                                                                                            Exhibit 20


   194      October 2018 email string forwarding CSXT0069501         CSXT0069504            Strongosky, Jay        F, H
            December 2017 email re: West vs East                                            (12/8/2020)
            Breakdown                                                                       Exhibit 21

                                                                                            Kenney, Maryclare
                                                                                            (12/11/2020)
                                                                                            Exhibit 6




   195      March 2015 CSXT email string re:       CSXT0089983       CSXT0089986            Strongosky, Jay        F, H
            NIT                                                                             (12/8/2020)
                                                                                            Exhibit 22

                                                                                            Girardot, Rob
                                                                                            (1/12/2021)
                                                                                            Exhibit 16


   196      April 2015 email string re: CMA CSX CSXT0038161          CSXT0038166            Strongosky, Jay        F, H, C, DH
                                                                                            (12/8/2020)
                                                                                            Exhibit 24


   197      September 2016 email string re: Port   CSXT0047745       CSXT0047755            Strongosky, Jay        F, H
            of Virginia, forwarding CSX's U.S.                                              (12/8/2020)
            East Coast Port Service Plan Survey                                             Exhibit 25




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  Ex. No.   Description                            Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                            Reference

   198      October 2016 email re: VA Letter,      CSXT0096238       CSXT0096240            Strongosky, Jay        NO
            including draft of letter to Capozzi                                            (12/8/2020)
                                                                                            Exhibit 26

                                                                                            Warren, Carl
                                                                                            (1/5/2021)
                                                                                            Exhibit 24


   199      February 2019 email re: MSC            CSXT0072702                              Strongosky, Jay        F, H
                                                                                            (12/8/2020)
                                                                                            Exhibit 27


   200      March 2019 email string re: Port of    CSXT0073025       CSXT0073030            Strongosky, Jay        F, H
            VA Questions/Issues                                                             (12/8/2020)
                                                                                            Exhibit 28

                                                                                            Kenney, Maryclare
                                                                                            (12/11/2020)
                                                                                            Exhibit 16

                                                                                            Girardot, Rob
                                                                                            (1/12/2021)
                                                                                            Exhibit 24




   201      Withdrawn
   202      September 2019 email string re:        CSXT0124226       CSXT0124229            Kenney, Maryclare      F, H, CON, M
            Whats going on with intermodal                                                 (12/11/2020)
                                                                                            Exhibit 2


   203      February 2015 email string re:         CSXT0001166       CSXT0001168            Kenney, Maryclare      H, F, DH
            Wilmington                                                                      (12/11/2020)
                                                                                            Exhibit 4


   204      February 2015 email string re: MSC     CSXT0001179       CSXT0001180            Kenney, Maryclare      H, F, DH
            volume to APMT                                                                  (12/11/2020)
                                                                                            Exhibit 5


   205      February 2017 email string re:         CSXT0054390                              Kenney, Maryclare      F
            Virginia and Barge Service                                                      (12/11/2020)
                                                                                            Exhibit 7


   206      July 2019 email string re: VIT CSX   CSXT0076242         CSXT0076244            Kenney, Maryclare      F, H
            Lift and Drayage Agreement effective                                            (12/11/2020)
            July 2019, unsigned agreement                                                   Exhibit 8
            attached.
                                                                                            Girardot, Rob
                                                                                            (1/12/2021)
                                                                                            Exhibit 25


   207      February 2015 email string re: NIT     CSXT0001173                              Kenney, Maryclare      H, F
            Drays                                                                           (12/11/2020)
                                                                                            Exhibit 9




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                                                                                             Reference

   208      March 2015 email string re: NIT and     CSXT0001280                              Kenney, Maryclare      F, H
            getting caught up                                                                (12/11/2020)
                                                                                             Exhibit 10


   209      March 2015 email string re: NIT         CSXT0001293       CSXT0001294            Kenney, Maryclare      F
                                                                                             (12/11/2020)
                                                                                             Exhibit 11


   210      April 2015 email string re: recap from CSXT0001319        CSXT0001320            Kenney, Maryclare      F, H
            CMA meeting                                                                      (12/11/2020)
                                                                                             Exhibit 12


   211      Withdrawn
   212      May 2014 email string re: Virginia      CSXT0000896       CSXT0000897            Kenney, Maryclare      H, F
            Ave. Tunnel April 21 brief, attaching                                            (12/11/2020)
            PowerPoint.                                                                      Exhibit 14


   213      Withdrawn
   214      December 2016 email string re: MSC CSXT0050447            CSXT0050448            Kenney, Maryclare      F, C
            Talking Points for Dean conversation                                             (12/11/2020)
            with Tonino                                                                      Exhibit 15


   215      August 2018 email re: VPA Meeting - CSXT0067839           CSXT0067841            Kenney, Maryclare      F, H, DH
            Draft Notes                                                                      (12/11/2020)
                                                                                             Exhibit 17

                                                                                             Warren, Carl
                                                                                             (1/5/2021)
                                                                                             Exhibit 9

                                                                                             Piacente, Dean
                                                                                             (1/15/2021)
                                                                                             Exhibit 11




   217      CSX Publication: CSXT 8100 Terms CSXT0114874              CSXT0114934            DiDeo, Tony            IR, F, CON, M
            and Conditions of Service and Prices                                             (12/14/2020)
            for Accessorial Services, effective                                              Exhibit 1
            January 1, 2016
   218      April 2018 email string re: Short Lines CSXT0065322       CSXT0065324            DiDeo, Tony            F, H
            at Ports                                                                         (12/14/2020)
                                                                                             Exhibit 2

   219      February 2019 email string re: Cordele CSXT0103934        CSXT0103935            DiDeo, Tony            F, H, IR, CON, M
            Discussion - 3rd party access to/from                                            (12/14/2020)
            Savannah GPA Chatham ICTF across                                                 Exhibit 3
            CSX-Prepared at Request of Counsel

   220      Withdrawn
   221      July 2014 email string re: BOCT         CSXT0130202       CSXT0130203            DiDeo, Tony            IR, F, CON, M
            Tariff, supplement 6, draft                                                      (12/14/2020)
                                                                                             Exhibit 5

   222      CSXT Objections and Answers to                                                   DiDeo, Tony            F
            NPBL INT, #2                                                                     (12/14/2020)
                                                                                             Exhibit 6

   223      August 2018 email re: CSXT/Port of      CSXT0068354       CSXT0068356            DiDeo, Tony            F, H, C
            Virginia lift/dray agreement with                                                (12/14/2020)
            signed agreement attached                                                        Exhibit 8




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  Ex. No.   Description                           Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                           Reference

   224      March 2018 email string re: Rate      CSXT0013434       CSXT0013448            DiDeo, Tony            NO
            Proposal for Long Term Rail Service                                            (12/14/2020)
            to NIT, attaching rate proposal                                                Exhibit 9

   225      April 2018 email string re: Rate      NPBL006257        NPBL006258             DiDeo, Tony            NO
            Proposal for Long Term Rail Service                                            (12/14/2020)
            to NIT                                                                         Exhibit 11

   226      April 2015 email string re: CSX move CSXT0131709        CSXT0131710            Swafford, Jermaine     NO
            request                                                                        (12/15/2020)
                                                                                           Exhibit 1

                                                                                           Kendall, Quintin
                                                                                           (1/14/2021)
                                                                                           Exhibit 6




   227      Withdrawn
   228      CSXT Reference Guide for Affiliate    CSXT0154794       CSXT0154816            Swafford, Jermaine     NO
            Board Service                                                                  (12/15/2020)
                                                                                           Exhibit 3

                                                                                           Eliasson, Fredrik
                                                                                           (1/8/2021)
                                                                                           Exhibit 7

                                                                                           CSXT 30(b)(6)
                                                                                           (1/13/2021)
                                                                                           Exhibit 10

                                                                                           Kendall, Quintin
                                                                                           (1/14/2021)
                                                                                           Exhibit 1

                                                                                           Armbrust, Steven
                                                                                           (3/25/2021)
                                                                                           Exhibit 8

                                                                                           Burns, Michael
                                                                                           (3/25/2021)
                                                                                           Exhibit 1




   229      November 2015 appointment and         CSXT0113439       CSXT0113450            Swafford, Jermaine     F, H, CON, IR
            email string re: VPA/Centerpoint pre-                                          (12/15/2020)
            meeting, attaching Draft Rail Study                                            Exhibit 4
            VPA
                                                                                           Kendall, Quintin
                                                                                           (1/14/2021)
                                                                                           Exhibit 16




   230      December 2015 email, with December CSXT0133116          CSXT0133120            Swafford, Jermaine     NO
            9, 2015 minutes attached                                                       (12/15/2020)
                                                                                           Exhibit 5

                                                                                           Kendall, Quintin
                                                                                           (1/14/2021)
                                                                                           Exhibit 2




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  Ex. No.   Description                           Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                           Reference

   231      NPBL Financial Overview 2015          CSXT0094743       CSXT0094750            Swafford, Jermaine     NO
                                                                                           (12/15/2020)
                                                                                           Exhibit 6


   232      January 2016 email string re: updated CSXT0005368       CSXT0005369            Swafford, Jermaine     NO
            cash flow                                                                      (12/15/2020)
                                                                                           Exhibit 7

                                                                                           Kendall, Quintin
                                                                                           (1/14/2021)
                                                                                           Exhibit 7




   233      April 2016 email re: Additional       CSXT0133903       CSXT0116513            Swafford, Jermaine     NO
            information for updated during                                                 (12/15/2020)
            meeting, attaching April 26, 2016                                              Exhibit 8
            letter to Moss re: cancellation of
            trackage rights
   234      March 2018 email string re: Rate      CSXT0140145       CSXT0140146            Swafford, Jermaine     NO
            Proposal for Long Term Rail Service                                            (12/15/2020)
            to NIT                                                                         Exhibit 11


   235      March 2018 email string re: Rate      CSXT0119620       CSXT0119621            Swafford, Jermaine     NO
            Proposal for Long Term Intermodal                                              (12/15/2020)
            Service to NIT                                                                 Exhibit 13


   236      April 2018 email re: Board and       CSXT0119634        CSXT0119684            Swafford, Jermaine     F
            Stockholder docketfor April 18, 2018                                           (12/15/2020)
            meeting, with attachments                                                      Exhibit 15


   237      Withdrawn
   238      May 18, 2018 letter re: objections to CSXT0142622       CSXT0142628            Swafford, Jermaine     NO
            draft meeting minutes and approval of                                          (12/15/2020)
            2017 annual report at April 2018                                               Exhibit 17


   239      CSX Website: Intermodal 101                                                    Warren, Carl           F, IR
                                                                                           (1/5/2021)
                                                                                           Exhibit 2

   240      Withdrawn
   241      October 2015 email string re: CWRY CSXT0041355          CSXT0041356            Warren, Carl           F, H, M, IR
            (G&W) rate action                                                              (1/5/2021)
                                                                                           Exhibit 4

   242      April 2019 email string re: MSC and   CSXT0074449       CSXT0074451            Warren, Carl           F, H
            increased volumes                                                              (1/5/2021)
                                                                                           Exhibit 5

   243      June 2014 email string re: VIT and    CSXT0032388       CSXT0032389            Warren, Carl           F, H, M, CON, P
            Hapag shift                                                                    (1/5/2021)
                                                                                           Exhibit 6

   244      October 2019 email string re: Howard CSXT0124256        CSXT0124262            Warren, Carl           F, IR, H, CON, P
            Street Tunnel Project  2019 INFRA                                             (1/5/2021)
            Grant Program                                                                  Exhibit 7




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                                                                                           Reference

   245      November 2016 email string re: CSX CSXT0049507          CSXT0049510            Warren, Carl           NO
            visit to Norfolk on November 22                                                (1/5/2021)
                                                                                           Exhibit 8

                                                                                           Vick, Catherine
                                                                                           (1/19/2021)
                                                                                           Exhibit 4


   246      November 2018 email attaching draft CSXT0120340         CSXT0120341            Warren, Carl           F, H
            VIG event document                                                             (1/5/2021)
                                                                                           Exhibit 10

   247      September 2015 email string re:       CSXT0011025       CSXT0011028            Warren, Carl           F, H
            CWRY Follow-Up                                                                 (1/5/2021)
                                                                                           Exhibit 11

   248      March 2015 Port of Virginia email re: CSXT0001212       CSXT0001214            Warren, Carl           F, H
            Congestion Mitigation Update                                                   (1/5/2021)
                                                                                           Exhibit 12

   249      September 2014 email string re: PMT CSXT0033193         CSXT0033195            Warren, Carl           F, H
            reopening                                                                      (1/5/2021)
                                                                                           Exhibit 13

   250      February - March 2017 email string re: CSXT0135620      CSXT0135621            Warren, Carl           F, H, M, CON, P
            OOCL                                                                           (1/5/2021)
                                                                                           Exhibit 14

   251      April - May 2019 email string re:     CSXT0074914       CSXT0074916            Warren, Carl           NO
            Setting up CSX for growth at POV                                               (1/5/2021)
                                                                                           Exhibit 15

                                                                                           Capozzi, Thomas
                                                                                           (1/22/2021)
                                                                                           Exhibit 23


   252      May 2019 email string re: Recap of    CSXT0074973       CSXT0074975            Warren, Carl           F, H
            conference call                                                                (1/5/2021)
                                                                                           Exhibit 16

   253      May - June 2019 email string re:      CSXT0075507       CSXT0075508            Warren, Carl           F, H, IR
            collaboration on CSX issues                                                    (1/5/2021)
                                                                                           Exhibit 17

   254      October 2019 email re: CSX Data,      CSXT0154661       CSXT0154662            Warren, Carl           F, H, M, CON, P
            attaching spreadsheet: Portsmouth                                              (1/5/2021)
            Lifts                                                                          Exhibit 18

   255      October 2019 email re: CSX-POV        CSXT0153575       CSXT0153579            Warren, Carl           F, H, M, CON, P
            attaching CSX-POV Project Benefits                                             (1/5/2021)
                                                                                           Exhibit 19

   256      November 2019 email string re: follow- CSXT0154780      CSXT0154781            Warren, Carl           F, H, M, CON, P
            up to CSX                                                                      (1/5/2021)
                                                                                           Exhibit 20

   257      March 2014 email string re: NC and    CSXT0031006                              Warren, Carl           F, H, IR
            VA Project Summary                                                             (1/5/2021)
                                                                                           Exhibit 21

   258      March 2014 email string re: Jaxport   CSXT0030903       CSXT0030904            Warren, Carl           F, H, IR
            ICTF                                                                           (1/5/2021)
                                                                                           Exhibit 22




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                                                                                          Reference

   259      December 2014 email string re:       CSXT0034771       CSXT0034772            Warren, Carl           F, H, IR
            intermodal rates to the midwest                                               (1/5/2021)
                                                                                          Exhibit 23

   260      December 2018 - March 2019 email CSXT0151455           CSXT0151460            Warren, Carl           F, H, M, CON, P
            string re: Port of VA questions/issues:                                       (1/5/2021)
            including NIT access                                                          Exhibit 25

   261      May 2018 email string re: VA Del.    CSXT0120278       CSXT0120279            Warren, Carl           F, H
            Yancey Visit to HQ - June 18                                                  (1/5/2021)
                                                                                          Exhibit 26

   262      September 2018 email chain re:       CSXT0145488       CSXT0145489            Warren, Carl           F, H
            question from Del. Yancey                                                     (1/5/2021)
                                                                                          Exhibit 27

   263      July 26, 2010 CSX Public Affairs     CSXT0125636 -                            Eliasson, Fredrik      NO
            Interoffice Memo re: Meeting with    CSXT0125635                              (1/8/2021)
            Governor McDonnell                                                            Exhibit 2


   264      Port Strategy Integration Plan       CSXT0109871       CSXT0109884            Eliasson, Fredrik      NO
            Executive Summary                                                             (1/8/2021)
                                                                                          Exhibit 3


   265      March 2010 email thanking Ms.          CSXT0004044                            Eliasson, Fredrik      IR
            Coleman for helping to get up to speed                                        (1/8/2021)
            on NPBL issues                                                                Exhibit 4


   266      March 2010 email string re: new board CSXT0004046                             Eliasson, Fredrik      NO
            members                                                                       (1/8/2021)
                                                                                          Exhibit 5


   267      March 2010 email string re: discussion CSXT0082789     CSXT0082792            Eliasson, Fredrik      F, H
            about rate proposal to NPBL for                                               (1/8/2021)
            movements into NIT                                                            Exhibit 8


   268      Eliasson and Armbrust memo to "E-    CSXT0025521       CSXT0025522            Eliasson, Fredrik      NO
            team" re: status following board                                              (1/8/2021)
            meeting                                                                       Exhibit 10

                                                                                          CSXT 30(b)(6)
                                                                                          (1/13/2021)
                                                                                          Exhibit 8




   269      September 2010 email attaching       NPBL007466        NPBL007467             Eliasson, Fredrik      NO
            minutes of September 8, 2010 board                                            (1/8/2021)
            meeting                                                                       Exhibit 12

                                                                                          Eliasson, Fredrik
                                                                                          (1/8/2021)
                                                                                          Exhibit 16




   270      August 2020 email re: Comments on    NPBL012438        NPBL012440             Eliasson, Fredrik      NO
            CSXT Rate Proposal                                                            (1/8/2021)
                                                                                          Exhibit 13




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                                                                                            Reference

   271      August 2010 email attaching docket NPBL007440            NPBL007465             Eliasson, Fredrik      NO
            for September 8, 2010 board meeting                                             (1/8/2021)
                                                                                            Exhibit 14


   272      September 3, 2010 CSXT             NSR_00000819          NSR_00000821           Eliasson, Fredrik      NO
            Memorandum re: NPBL                                                             (1/8/2021)
            Management's response to CSXT rate                                              Exhibit 15
            proposal.

   273      November 2010 email attaching          NPBL007490        NPBL007511             Eliasson, Fredrik      NO
            docket for December 1, 2010 board                                               (1/8/2021)
            meeting                                                                         Exhibit 18


   274      December 2010 email attaching CSXT NPBL012283            NPBL012287             Eliasson, Fredrik      NO
            Memorandum for 12/29/2010 Board                                                 (1/8/2021)
            Meeting                                                                         Exhibit 19


   275      April 13, 2011 NPBL Stockholder                                                 Eliasson, Fredrik      NO
            meeting minutes                                                                 (1/8/2021)
                                                                                            Exhibit 24


   276      CSX Website: Intermodal 101                                                     Girardot, Rob          F, IR
                                                                                            (1/12/2021)
                                                                                            Exhibit 1

   277      September 2017 email string re:        CSXT0097850       CSXT0097853            Girardot, Rob          F, H, CON
            Syracuse Inland Port                                                            (1/12/2021)
                                                                                            Exhibit 2

   278      January 2019 email string re:          CSXT0071758       CSXT0071761            Girardot, Rob          F, H
            Intermodal East vs. West Coast                                                  (1/12/2021)
            Volume Mix                                                                      Exhibit 4

   279      PowerPoint - CSX and VPA               CSXT0003124                              Girardot, Rob          F
                                                                                            (1/12/2021)
                                                                                            Exhibit 5

   280      Email string, 5/13/2018 Girardot and   CSXT0154623       CSXT0154628            Girardot, Rob          F, IR, CON
            Piacente re: Howard Street Tunnel                                               (1/12/2021)
            Draft                                                                           Exhibit 9

   281      Email string, 1/18/2019 Girardot and   CSXT0072078       CSXT0072080            Girardot, Rob          F, H, IR
            Hendrickson re: Port of NY and NJ                                               (1/12/2021)
            Port Facility Rail Intermodal                                                   Exhibit 7
            Container Terminals (on Conrail)
   282      Email string, 12/14/2017 VIT and       CSXT0063227       CSXT0063228            Girardot, Rob          F
            CSX re: Drayage for misrouted                                                   (1/12/2021)
            containers                                                                      Exhibit 8

                                                                                            Piacente, Dean
                                                                                            (1/15/2021)
                                                                                            Exhibit 7

                                                                                            Capozzi, Thomas
                                                                                            (1/22/2021)
                                                                                            Exhibit 17




   283      Email, 1/17/2018 Piacente to          CSXT0063567        CSXT0063568            Girardot, Rob          F, H
            Strongosky and Girardot re: VIT email                                           (1/12/2021)
            on joint meeting in Jax.                                                        Exhibit 9




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                                                                                            Reference

   284      Email string, CSXT and VIT,            CSXT0055536                              Girardot, Rob          F, C
            4/6/2017 re: Belt Line charges                                                  (1/12/2021)
                                                                                            Exhibit 13

   285      Email, 5/2/2018 Jodie Asbell (POV) to CSXT0101270        CSXT0101274            Girardot, Rob          F, H
            Piacente and Reinhart attaching letter                                          (1/12/2021)
            from Moss.                                                                      Exhibit 14

   286      CSXT International Shipping                                                     Girardot, Rob          F, CON, M, IE
            Container Movements: 2009-2019                                                  (1/12/2021)
                                                                                            Exhibit 15

   287      1/22/2018 email, Girardot to           CSXT0003591       CSXT0003592            Girardot, Rob          F
            MacDonald, with powerpoint - NIT                                                (1/12/2021)
            Access Discussion 20180116                                                      Exhibit 18

   288      7/23/2018 email string, Girardot and   CSXT0067227       CSXT0067230            Girardot, Rob          F, H, IR, CON
            Hart re: Indianapolis service and                                               (1/12/2021)
            forwarding emailing from ZIM USA                                                Exhibit 19

   289      11/14/2013 email string, Girardot and CSXT0111144        CSXT0111145            Girardot, Rob          F, H, CON, M
            Whitt re: Palmetto Railways EIS for                                             (1/12/2021)
            North Charleston                                                                Exhibit 20

   290      1/25/2018 calendar appt.: NPBL/NIT: CSXT0119073                                 Girardot, Rob          F, IR, M
            Skype conference call with Rob                                                  (1/12/2021)
            Girardot and CSX outside counsel.                                               Exhibit 23

   291      April 19, 2018 letter, NPBL to         CSXT0101273                              CSXT 30(b)(6)          NO
            Reinhart re: rail service at NIT                                                (1/13/2021)
                                                                                            Exhibit 3


   292      NPBL Entity Vitals                     CSXT0154817                              CSXT 30(b)(6)          F
                                                                                            (1/13/2021)
                                                                                            Exhibit 6

                                                                                            Armbrust, Steven
                                                                                            (3/25/2021)
                                                                                            Exhibit 7

                                                                                            Burns, Michael
                                                                                            (3/25/2021)
                                                                                            Exhibit 2




   293      Withdrawn
   294      CSXT spreadsheet generated during      CSXT0003624                              CSXT 30(b)(6)          F
            the course of preparation of CSXT's                                             (1/13/2021)
            rate proposal                                                                   Exhibit 18

                                                                                            Girardot, Rob
                                                                                            (3/17/2021)
                                                                                            Exhibit 18


   295      2/22/2018 email string, CSXT re:       CSXT0099792       CSXT0099800            CSXT 30(b)(6)          F, H, CON
            NPBL costing analysis                                                           (1/13/2021)
                                                                                            Exhibit 19




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                                                                                           Reference

   296      December 19, 2007 BOD Meeting         CSXT0000001          CSXT0000006         CSXT 30(b)(6)          NO
            minutes                                                                        (1/13/2021)
                                                                                           Exhibit 20


   297      7/20/2018 email string, Warren and    CSXT0067164          CSXT0067166         CSXT 30(b)(6)          NO
            Tibbitts (VIT) re: meeting notes from                                          (1/13/2021)
            meeting between VIT and CSX.                                                   Exhibit 23


   298      Collection of emails between CSX and CSXT0067164 -                             Capozzi, Thomas        F, H, C, CON, M, P
            VIT                                  CSXT0067166                               (1/22/2021)
                                                 CSXT0067204 -                             Exhibit 5
                                                 CSXT0067209
                                                 CSXT0067237 -
                                                 CSXT0067240
                                                 CSXT0067254 -
                                                 CSXT0067258
                                                 CSXT0069403 -
                                                 CSXT0069407
                                                 CSXT0070480 -
                                                 CSXT0070502




   299      Withdrawn
   300      12/3/2018 VIT and CSX internal        CSXT0070355                                                    F, H, C
            emails re: VPA meeting, followed by   CSXT0070357
            dinner.
                                                  CSXT0070426
                                                  CSXT0070430

                                                  CSXT0070434
                                                  CSXT0070439

                                                  CSXT0070457
                                                  CSXT0070459

                                                  CSXT0070480
                                                  CSXT0070526

                                                  CSXT0070482.XLSX

                                                  CSXT0070506-
                                                  CSXT0070506.XLSX




   301      3/1/2016 CWRY and CSXT Master     CSXT0048370              CSXT0048385         CSXT 30(b)(6)          NO
            Equipment Run-Through - Agreement                                              (1/13/2021)
                                                                                           Exhibit 25




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                                                                                            Reference

   302      1/20/2017 Email, Girardot to Whitt     CSXT0096717       CSXT0096719            Kendall, Quintin       F, H, C
            and Piacente re: Barge analysis -                                               (1/14/2021)
            discusses NPBL switching fee                                                    Exhibit 4


   303      4/9/2015 email string, Moss and     CSXT0112579          CSXT0112580            Kendall, Quintin       F
            MacDonald re: request for operating                                             (1/14/2021)
            window and NS preventing movement                                               Exhibit 5
            over to NIT because of operational
            issues.
   304      4/9/2015 CSX internal email from    CSXT0090266                                MacDonald, Tony        F, H, DH
            Armbrust, re: Request for Operating CSXT0090267                                 (1/20/2021)
            Window -- more on NPBL              CSXT0112577                                Exhibit 17
                                                CSXT0112578
                                                CSXT0112579 
                                                CSXT0112580
                                                CSXT0090280 -
                                                CSXT0090281




   305      4/9/2015 email, Moss to MacDonald, NPBL005672                                                         NO
            and follow up emails re: Request for NPBL005673
            Operating Window                     NPBL024288




   306      4/26/2016 Email, Moss to NPBL            CSXT0133903     CSXT0133909            Kendall, Quintin       NO
            board re: updates on liability insurance                                        (1/14/2021)
            and 1917 trackage rights agreement                                              Exhibit 8
            renewal, attaching liability quotes
            received and term letter outlining
            NSR's intent to proceed with a single
            agreement to replace the 1917 and
            1985 Agreements
   307      9/15/2009 Email string, VPA and          CSXT0082034     CSXT0082035            Kendall, Quintin       F, H
            CSX re: VPA Conference Call                                                     (1/14/2021)
            Announcement                                                                    Exhibit 9


   308      9/16/2009 Email string, VPA and        CSXT0082039       CSXT0082040            Kendall, Quintin       F, H
            CSX re: VPA Announcement Recap                                                  (1/14/2021)
                                                                                            Exhibit 10


   309      3/23/2010 Eliasson and MacDonald    CSXT0082793                                 Kendall, Quintin       F, H, DH
            re: Have you heard back from VIT?                                             (1/14/2021)
                                                                                            Exhibit 11


   310      7/12/2011 CSX email string re: Pilot   CSXT0086684                              Kendall, Quintin       NO
            Article: Port Authority seeks to                                                (1/14/2021)
            expand rail capacity at NIT                                                     Exhibit 13


   311      11/6/2013 email string Kendall and    CSXT0008989                               Kendall, Quintin       NO
            Aidinoff, office of VP Biden re:                                                (1/14/2021)
            advanatages to finishing the Gateway.                                           Exhibit 14




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                                                                                             Reference

   312      10/9/2014 Email string, Rhode and     CSXT0130615         CSXT0130618            Kendall, Quintin       NO
            Kendall, CSX re: Master Rail Plan for                                            (1/14/2021)
            the POV                                                                          Exhibit 15


   313      October 23, 2010 email string, CSXT CSXT0084580           CSXT0084582            Kendall, Quintin       F, H
            re: Virginia Port strategy status call -                                         (1/14/2021)
            follow-up                                                                        Exhibit 17


   314      2/28/2018 email, Piacente to CSXT    CSXT0064443          CSXT0064464            Piacente, Dean         F, IR, H, DH
            forwarding The Alphaliner Newsletter                                             (1/15/2021)
                                                                                             Exhibit 2


   315      8/5/2016 email string, CSXT re: ICTF CSXT0046671          CSXT0046674            Piacente, Dean         F, IR, H, DH, S, CON
            rates                                                                            (1/15/2021)
                                                                                             Exhibit 3


   316      10/21/2016 CSXT email string re:        CSXT0048822       CSXT0048825            Piacente, Dean         F, IR, H, DH, S, P, M, CON
            HamSud JaxPort Prices                                                            (1/15/2021)
                                                                                             Exhibit 4


   317      12/14/2016 email change, Girardot       CSXT0096473       CSXT0096476            Piacente, Dean         F
            and Piacente re: PMT - NIT barge                                                 (1/15/2021)
            service                                                                          Exhibit 5


   318      Article: Trade groups call on U.S. to                                            Piacente, Dean         F, IR, H, DH, CON, M, P
            investigate CSX rail disruptions,                                                (1/15/2021)
            8/15/2017 by Eric Johnson                                                        Exhibit 6


   319      12/1/2017 email, Strongosky to          CSXT0013277                              Piacente, Dean         H, DH
            Piacente re: CMA and Zim vessels                                                 (1/15/2021)
            moving NIT and PMT                                                               Exhibit 8


   320      1/30/2018 email string, Girardot to   CSXT0138590         CSXT0138591            Piacente, Dean         F, H
            Warren and Piacente with redacted                                                (1/15/2021)
            email re: Reinhart John F. attaching                                             Exhibit 9
            VA Port Authority Service NIT
            Access Maps - Understanding the
            Neighborhood.
   321      8/2/2018 email from Warren to CSXT CSXT0101731            CSXT0101732            Piacente, Dean         F, H
            individuals re: Virginia Port Meeting                                            (1/15/2021)
            Monday August 6                                                                  Exhibit 10


   322      Withdrawn
   323      PVA PowerPoint - Rail: Our              VPA001007         VPA001017              Vick, Catherine        NO
            Competitive Advantage                                                            (1/19/2021)
                                                                                             Exhibit 2


   324      Typed notes: Meeting with VPA and       VPA000793                                Vick, Catherine        NO
            CSX - May 19, 2010                                                               (1/19/2021)
                                                                                             Exhibit 3


   325      4/9/2018 email, Piacente to Reinhart    VPA000074                                Vick, Catherine        NO
            re: CSX Securing NIT access                                                      (1/19/2021)
                                                                                             Exhibit 5




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                                                                                            Reference

   326      4/13/2018 email, Ruddy to Reinshart, VPA001846           VPA001848              Vick, Catherine        NO
            Tibbetts, Vick with draft NPBL letters                                          (1/19/2021)
                                                                                            Exhibit 6


   327      4/13/2018 email, Reinhart to Ruddy, VPA001849            VPA001851              Vick, Catherine        NO
            Tibbetts, Vick attaching revised letter                                         (1/19/2021)
            to NPBL                                                                         Exhibit 7


   328      4/13/2018 email, VIT and PVA with      VPA001852         VPA001854              Vick, Catherine        NO
            NPBL revised letter for Reinhart's                                              (1/19/2021)
            signature.                                                                      Exhibit 8


   329      4/19/2018 email, Moss to Reinhart      VPA000001         VPA000002              Vick, Catherine        NO
            with response letter.                                                           (1/19/2021)
                                                                                            Exhibit 9


   330      6/27/2018 email, Piacente to Reinhart, VPA000078                                Vick, Catherine        NO
            Wallace re: CSXT thanks to PVA                                                  (1/19/2021)
                                                                                            Exhibit 10


   331      8/1/2018 email string, Warren and       CSXT0121480      CSXT0121483            Vick, Catherine        NO
            Tibbitts re: notes from meeting on July                                         (1/19/2021)
            13 in Norfolk (VPA)                                                             Exhibit 11

                                                                                            Capozzi, Thomas
                                                                                            (1/22/2021)
                                                                                            Exhibit 21




   332      10/5/2018 email, Tibbetts to Milliken VPA001856          VPA001897              Vick, Catherine        F, H
            re: CSX Litigation                                                              (1/19/2021)
                                                                                            Exhibit 12


   333      10/9/2018 email, Joe Harris (VPA) to VPA001900           VPA001905              Vick, Catherine        F, H
            SL Team (VIT) with Rail Suit Holding                                            (1/19/2021)
            Statement and article - CSX sues NS                                             Exhibit 13


   334      10/9/2018 email string, Reinhart and   VPA000130                                Vick, Catherine        NO
            Kenney re: CSX Complaint                                                        (1/19/2021)
                                                                                            Exhibit 14


   335      2009 CSXT email re: NPBL               CSXT0079905       CSXT0079906            MacDonald, Tony        NO
            Overview and attaching NPBL                                                     (1/20/2021)
            Presentation Final.                                                             Exhibit 1


   336      4/15/2010 CSXT emails re:              CSXT0025580                              MacDonald, Tony        NO
            NPBL/VIT Operations Meetings                                                    (1/20/2021)
                                                                                            Exhibit 3


   337      4/20/2010 email, Bennett to VIT,       NPBL015661        NPBL015662             MacDonald, Tony        NO
            Stinson, Coleman re: Operations                                                 (1/20/2021)
            Meeting Follow-up                                                               Exhibit 4




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                                                                                          Reference

   338      4/15/2010 CSX Discussion Item        NPBL013646        NPBL013651             MacDonald, Tony        NO
            (typed notes)                                                                 (1/20/2021)
                                                                                          Exhibit 5


   339      7/19/2020 email, Booth to Stinson and CSXT0083722      CSXT0083729            MacDonald, Tony        NO
            Coleman with rate request                                                     (1/20/2021)
                                                                                          Exhibit 6


   340      7/23/2010 letter, Booth to Stinson and CSXT0025827     CSXT0025832            MacDonald, Tony        NO
            Coleman with rate proposal                                                    (1/20/2021)
                                                                                          Exhibit 7


   341      9/2010 emails, Capozzi and Bennett   CSXT0084192       CSXT0084193            MacDonald, Tony        F, H, DH
            re: Tariff                                                                    (1/20/2021)
                                                                                          Exhibit 8


   342      3/1/2011 Letter Yates, NS to Stinson CSXT0126579       CSXT0126580            MacDonald, Tony        NO
            re: NPBL's request for 3 days per week                                        (1/20/2021)
            service between NS Junction and West                                          Exhibit 9
            Junction.

   343      3/4/2014 emails, MacDonald and       CSXT0009287       CSXT0009289            MacDonald, Tony        F, H
            Matter re: WWW Meeting w/ VPA                                                 (1/20/2021)
                                                                                          Exhibit 10


   344      3/25/2015 emails, Whitt and          CSXT0010545       CSXT0010546            MacDonald, Tony        F, H, DH
            MacDonald re: State of the Port                                               (1/20/2021)
                                                                                          Exhibit 11


   345      3/27/2015 emails Matter and          CSXT0001276       CSXT0001277            MacDonald, Tony        F, H, DH
            MacDonald, NPBL to NIT                                                        (1/20/2021)
                                                                                          Exhibit 13


   346      3/31/2015 CSX emails re: NIT Train   CSXT0001301                              MacDonald, Tony        NO
                                                                                          (1/20/2021)
                                                                                          Exhibit 14


   347      3/31/2015 CSX emails re: NPBL -      CSXT0010554                              MacDonald, Tony        F, H
            discussing costs for moves                                                    (1/20/2021)
                                                                                          Exhibit 15


   348      4/6/2015 email, Macdonald to McKee CSXT0001321                                MacDonald, Tony        NO
            and Matter, re: 2nd X train to NIT                                            (1/20/2021)
                                                                                          Exhibit 16


   349      4/11/2015 email string, Matter and   CSXT0153980                              MacDonald, Tony        F, H
            MacDonald, re: NIT Update                                                     (1/20/2021)
                                                                                          Exhibit 18


   350      4/2015 CSXT emails re: Requestying CSXT0010598                                MacDonald, Tony        NO
            profile from NIT-NPBL-CSX                                                     (1/20/2021)
            Portsmouth to NWOH double stack                                               Exhibit 19




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                                                                                          Reference

   351      4/13/2015 emails, Moss, Pete        CSXT0001345                               MacDonald, Tony        F, H
            Peterson, Tom Christman,                                                      (1/20/2021)
            MacDonald, Steve O'hare re: meeting                                           Exhibit 20
            tomorrow to discuss nPBL's CSX
            intermodal move to NIT
   352      4/13/2015 emails, MacDonald and     CSXT0001348                               MacDonald, Tony        NO
            Matter re: NIT/CMA traffic                                                    (1/20/2021)
                                                                                          Exhibit 21


   353      4/13/2015 Email, Moss to MacDonald CSXT0001344                                                       NO
            re: Meeting Tomorrow
   354      4/16/2015 email, Moss to Hill, Griffin, CSXT0154004     CSXT0154005           MacDonald, Tony        NO
            Bassham, Christman, MacDonald re:                                             (1/20/2021)
            CSX Move. Forwarded by Kendall to                                             Exhibit 22
            Macdonald re: CSX move request -
            update

   355      4/23/2015 emails, CSX re: 37 empty   CSXT0001391                              MacDonald, Tony        F, H
            cars to NPBL                                                                  (1/20/2021)
                                                                                          Exhibit 23


   356      4/23/2015 Email, McKee to Moss,      CSXT0004978        CSXT0004979           MacDonald, Tony        F, H, DH
            MacDonald, Ohare re: CSX cars to                                             (1/20/2021)
            NIT delivered 4/23                                                            Exhibit 24


   357      5/2015 emails, Moss, MacDonald and CSXT0154039          CSXT0154041           MacDonald, Tony        F, H, DH
            Sallet (CSX) re: intermodal cars for                                          (1/20/2021)
            pick up at the NPBL                                                           Exhibit 25


   358      5/21/2015 email, Macdonald to Moss CSXT0004998                                MacDonald, Tony        NO
            re: Plan for CSX Loading                                                      (1/20/2021)
                                                                                          Exhibit 26


   359      5/27/2015 emails, CSX and VIT re:    CSXT0001528        CSXT0001529           MacDonald, Tony        NO
            Empties for NIT                                                               (1/20/2021)
                                                                                          Exhibit 27


   360      5/28/2015 emails, Matter, Macdonald CSXT0154050                               MacDonald, Tony        F, H
            re: NIT cars                                                                  (1/20/2021)
                                                                                          Exhibit 28


   361      6/1/2015 emails, VIT, NPBL and CSX CSXT0001537          CSXT0001538           MacDonald, Tony        F, H, DH
            re: Empties for NIT                                                           (1/20/2021)
                                                                                          Exhibit 29


   362      6/10/2015 emails, VIT, NPBL and      CSXT0001558        CSXT0001560           MacDonald, Tony        F, H, DH
            CSX re: Empties for NIT                                                       (1/20/2021)
                                                                                          Exhibit 30


   363      6/23/2015 emails, Moss and          CSXT0005020         CSXT0005021           MacDonald, Tony        F, H
            MacDonald re: CSXT rail cars at NIT                                           (1/20/2021)
                                                                                          Exhibit 31




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                                                                                           Reference

   364      6/24/2015 emails, VIT, NPBL and       NPBL024450         NPBL024451            MacDonald, Tony        F, H
            CSX re: CSX outbound train                                                     (1/20/2021)
            6/24/2015                                                                      Exhibit 32


   365      6/2015 emails, NPBL, VIT and CSX      CSXT0154066        CSXT0154068           MacDonald, Tony        NO
            re: CSX Cars                                                                   (1/20/2021)
                                                                                           Exhibit 33


   366      8/2015 emails, Macdonald and          CSXT0001778                              MacDonald, Tony        F, H
            Clement re: NIT moves                                                          (1/20/2021)
                                                                                           Exhibit 34


   367      9/2/2015 PVA Port Advisory            CSXT0154107        CSXT0154110           MacDonald, Tony        F, H, DH
            Conference                                                                     (1/20/2021)
                                                                                           Exhibit 35


   368      12/12/2016 email, MacDonald to       CSXT0050615                               MacDonald, Tony        F, H
            Manz (CSX) re: PVA operating details                                           (1/20/2021)
                                                                                           Exhibit 36


   369      3/23/2018 letter, DiDeo to Moss and   CSXT0013435        CSXT0013448           MacDonald, Tony        NO
            Coleman: 2018 rate proposal                                                    (1/20/2021)
                                                                                           Exhibit 38


   370      5/26/2010 email, Bennett to           NPBL027608         NPBL027612            Capozzi, Thomas        NO
            MacDonald, Stinson and Coleman                                                 (1/22/2021)
            forwarding VIT emails re: NIT                                                  Exhibit 3
            Operating Plan

   371      Collection of emails re: CSX rail cars CSXT0005000 -                           Capozzi, Thomas        F, H, C, CON, M, P
            at NIT                                 CSXT0005002                             (1/22/2021)
                                                                                           Exhibit 4
                                                  CSXT0036382 -
                                                  CSXT0036384

                                                  CSXT0039176 -
                                                  CSXT0039177

                                                  CSXT0154019 -
                                                  CSXT0154020

                                                  CSXT0154048

                                                  CSXT0154056 -
                                                  CSXT0154057




   372      5/22/2015 email, OBrien to VIT, NS CSXT0005000          CSXT0005002                                  NO
            re: Plan for CSX loading




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                                                                                           Reference

   373      PowerPoint - The Port of Virginia     SDT RES 000127        SDT RES 000165     Capozzi, Thomas        NO
            Advantages                                                                     (1/22/2021)
                                                                                           Exhibit 6


   374      PowerPoint - Virginia Advantages      SDT RES 000195        SDT RES 000246     Capozzi, Thomas        NO
                                                                                           (1/22/2021)
                                                                                           Exhibit 7


   375      PowerPoint - PVA Rail: Our            SDT RES 000101        SDT RES 000111     Capozzi, Thomas        NO
            Competitive Advantage                                                          (1/22/2021)
                                                                                           Exhibit 8


   376      7/2/2019 letter, PVA to Kenney with   VIT Prod. To NPBL                        Capozzi, Thomas        NO
            dray agreement                        000005 - 000006                          (1/22/2021)
                                                                                           Exhibit 9


   377      Breakdown of the PVA total amount     SDT RES 000124                           Capozzi, Thomas        NO
            of containers they handled.                                                    (1/22/2021)
                                                                                           Exhibit 11


   378      Spreadsheet re: container volume by   SDT RES 000261                           Capozzi, Thomas        NO
            terminal and travel mode - PVA                                                 (1/22/2021)
                                                                                           Exhibit 12


   379      Emails, VIT and CSX re: access to     CSXT0119754 -                            Capozzi, Thomas        NO
            NIT                                   CSXT0119757                              (1/22/2021)
                                                                                           Exhibit 13
                                                  NSR_00017889 -
                                                  NSR_00017892




   380      Port of Virginia Weekly Metrics                                                Capozzi, Thomas        NO
                                                                                           (1/22/2021)
                                                                                           Exhibit 14


   381      The Port of Virginia Advantages                                                Capozzi, Thomas        NO
                                                                                           (1/22/2021)
                                                                                           Exhibit 15


   382      2/2019 emails, Capozzi and Girardot   CSXT0072963           CSXT0072965        Capozzi, Thomas        F, H
            re: Network balance - MSC route of                                             (1/22/2021)
            additional freight through POV                                                 Exhibit 16


   383      1/16/2018 email, VIT to CSX re: joint CSXT0063563                              Capozzi, Thomas        F, H, CON, M, P
            meeting in Jacksonville                                                        (1/22/2021)
                                                                                           Exhibit 18


   384      Volumes by terminal (VIG, NIT,        SDT RES 000126                           Capozzi, Thomas        NO
            PMT, NNMT)                                                                     (1/22/2021)
                                                                                           Exhibit 20




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                                                                                            Reference

   385      10/9/2018 email PVA and VIT re:        VPA001911                                Capozzi, Thomas        F, H
            article in paper re: CSXT lawsuit                                               (1/22/2021)
                                                                                            Exhibit 22


   386      3/31/2015 emails PVA and VIT        SDT RES 000298       SDT RES 000299         Capozzi, Thomas        NO
            forwarding emails between NPBL,                                                 (1/22/2021)
            CSXT and VIT re: CSX traffic to NIT                                             Exhibit 24
            via NPBL

   387      2/2018 emails Girardot and Flippin     CSXT0158991       CSXT0158995            Girardot, Rob          F, H, DH, CON
            (CSX) re: RJG draft notes - White                                               (3/17/2021)
            meeting 2-7-2018                                                                Exhibit 1

   388      7/2018 emails Girardot, Cox, Piacente, CSXT0160581       CSXT0160582            Girardot, Rob          F, H, CON
            Hammock (CSX) re: attached                                                      (3/17/2021)
            PowerPoint re: PAC investment                                                   Exhibit 2

   389      4/13/2018 email, Hammock to            CSXT0159555       CSXT0159588            Girardot, Rob          F, H, CON
            Girardot r: Jim White's Asia                                                    (3/17/2021)
            Presentation, attached.                                                         Exhibit 3

   390      5/2018 email CSX re: Howard Street CSXT0159807           CSXT0159822            Girardot, Rob          F, H, CON
            Tunnel Project PowerPoint, attached.                                            (3/17/2021)
                                                                                            Exhibit 4

                                                                                            Strongosky, Jay
                                                                                            (3/17/2021)
                                                                                            Exhibit 5


   391      12/27/2018 email, CSX re:              CSXT0162721       CSXT0162731            Girardot, Rob          F
            International Strategy documents,                                               (3/17/2021)
            attaching draft and PowerPoint                                                  Exhibit 5

   392      3/2018 emails, CSX re: Savannah vs.    CSXT0159371       CSXT0159372            Girardot, Rob          F, H, IR, CON
            Jacksonville Nashville                                                          (3/17/2021)
                                                                                            Exhibit 6

   393      Jacksonville Port Authority Terminal   NPBL028240        NPBL028277             Girardot, Rob          F, H
            Tariff                                                                          (3/17/2021)
                                                                                            Exhibit 9

   394      Wilmington Terminal Tariff             NPBL028362                               Girardot, Rob          F, H
                                                                                            (3/17/2021)
                                                                                            Exhibit 10

   395      Port of Wilmington Terminal Tariff     NPBL028327        NPBL028361             Girardot, Rob          F, H
                                                                                            (3/17/2021)
                                                                                            Exhibit 11

   396      Savannah Port Tariff                   NPBL028324        NPBL028326             Girardot, Rob          F, H
                                                                                            (3/17/2021)
                                                                                            Exhibit 12

   397      Withdrawn
   398      3/5/2018 email, Piacente to CMA-       CSXT0159245       CSXT0159248            Strongosky, Jay        F, H, DH, CON, M, P
            CGM, then forwarded to CSX                                                      (3/17/2021)
            individuals, re: CSXT response to                                               Exhibit 2
            CMA CGM on settlement offer.

   399      Withdrawn
   400      Withdrawn
   401      Withdrawn
   402      Withdrawn
   403      Withdrawn




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                                                                                         Reference

   404      5/15/2019 email Strongosky to Gorski CSXT0165109      CSXT0165126            Strongosky, Jay        NO
            re: COSCO Final docs, and attaching                                          (3/17/2021)
            Cosco slides/presentation and transit                                        Exhibit 9
            comparison spreadsheet.
                                                                                         Marvel, Howard
                                                                                         (3/22/2021)
                                                                                         Exhibit 5




   405      5/2019 emails Mediterranean Shipping CSXT0165188      CSXT0165199            Strongosky, Jay        F, H, CON
            Company re: PNCT rail ops.                                                   (3/17/2021)
                                                                                         Exhibit 10


   406      8/5/2019 email Strongosky attaching CSXT0166012       CSXT0166021                                   F
            account profiles for Cosco, Evergreen,                                       Kenney, Maryclare
            Hyundai, ONE, OOCL, Yang Ming,                                               (3/26/2021)
            APL, CMA                                                                     Exhibit 2


   407      Withdrawn
   408      3/6/2018 Armbrust email with draft of CSXT0154933                            Armbrust, Steven       F, C
            2018 rate proposal (draft not                                                (3/25/2021)
            included).                                                                   Exhibit 1


   409      3/9/2018 Armbrust email with draft of CSXT0154942                            Armbrust, Steven       F, C
            2018 rate proposal (draft not                                                (3/25/2021)
            included).                                                                   Exhibit 3


   410      3/9/2018 Armbrust email with draft of CSXT0154949                            Armbrust, Steven       F, C
            2018 rate proposal (draft not                                                (3/25/2021)
            included).                                                                   Exhibit 4


   411      8/27/2018 email, Moss to NPBL board CSXT0155378       CSXT0155379            Armbrust, Steven       NO
            re: Update on negotiations with NS                                           (3/25/2021)
            over trackage rights. Forwarded to                                           Exhibit 6
            Armbrust and redacted.

   412      7/2019 emails CSX and ONE re: CSX CSXT0165776         CSXT0165778            Kenney, Maryclare      F, H
            vist to ONE HQ in Singapore                                                  (3/26/2021)
                                                                                         Exhibit 1


   413      1/4/2019 email, CSX re: International CSXT0162834     CSXT0162836            Kenney, Maryclare      F, C
            Strategy Document, attaching tables                                          (3/26/2021)
            for international stretegy presentation                                      Exhibit 3
            and international strategy PowerPoint

   414      4/12/2019 email, CSX re: Savannah    CSXT0164575      CSXT0164581            Kenney, Maryclare      F, H
            and Charleston info - per meeting on                                         (3/26/2021)
            Monday, attaching Savannah                                                   Exhibit 4
            Operations document and Charleston
            Operations document
   415      11/2019 emails, Ports America and    CSXT0202979      CSXT0202998            Kenney, Maryclare      F, CON, M, P
            CSX re: Ports America Chesapeake,                                            (3/26/2021)
            attaching 2019 PAC CSX                                                       Exhibit 5
            Memorandum of Understanding drafts

   416      Zim Rail Request for Quote 2016    CSXT0050597                               Wright, Matthew        NO
                                                                                         (3/30/2021)
                                                                                         Exhibit 3




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  Ex. No.   Description                           Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                           Reference

   417      Printout from NS website:                                                      Wright, Matthew        NO
            International Business Group                                                   (3/30/2021)
                                                                                           Exhibit 8


   418      ABA Proving Antitrust Damages                                                  Wright, Matthew        NO
                                                                                           (3/30/2021)
                                                                                           Exhibit 11


   419      CSX Revenue spreadsheet                                                        Wright, Matthew        NO
                                                                                           (3/30/2021)
                                                                                           Exhibit 12


   420      Moved to Joint Exhibit List
   421      July 15, 2006 Amendment to the        NSR00000304       NSR00000322            Moss, Cannon           NO
            Supplemental Agreement between                                                 (2/14/2020)
            NPBL and NS                                                                    Exhibit 2




   422      Withdrawn
   423      March 1, 1989 Supplemental            CSXT0000758       CSXT0000760            Moss, Cannon           NO
            Agreement between CSXT, Norfolk                                                (2/14/2020)
            and Western, Southern Railway                                                  Exhibit 4




   424      April 10, 1996 Amended NPBL By-       CSXT0000761       CSXT0000766            Moss, Cannon           NO
            laws                                                                           (2/14/2020)
                                                                                           Exhibit 5




   425      CSXT Demand Letter to NPBL re         CSXT0006383       CSXT0006390            Moss, Cannon           NO
            remedial actions                                                               (2/14/2020)
                                                                                           Exhibit 6




   426      Election of NPBL Directors at April   CSXT0101908       CSXT0101912            Moss, Cannon           NO
            2018 Annual Meeting Letter                                                     (2/14/2020)
                                                                                           Exhibit 7




   427      NSR Response to CSXT Demand           NSR_00035194      NSR_00035197           Moss, Cannon           NO
            Letter                                                                         (2/14/2020)
                                                                                           Exhibit 8




   428      Objections to Draft Meeting Minutes   CSXT0102000       CSXT0102006            Moss, Cannon           NO
            and Approval of 2017 Annual Report                                             (2/14/2020)
            Letter                                                                         Exhibit 9




   429      Google Earth map of rail lines                                                 Moss, Cannon           NO
                                                                                           (2/14/2020)
                                                                                           Exhibit 10




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  Ex. No.   Description                           Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                           Reference

   430      Switch Info                           NPBL004140        NPBL004154             Moss, Cannon           NO
                                                                                           (2/14/2020)
                                                                                           Exhibit 11




   431      June 23, 2015 - Email between Moss    NPBL005643        NPBL005644             Moss, Cannon           NO
            and MacDonald                                                                  (2/14/2020)
                                                                                           Exhibit 12




   432      April 23, 2015 - Email between Moss NPBL005662          NPBL005664             Moss, Cannon           NO
            and VIT,CSXT, TTX                                                              (2/14/2020)
                                                                                           Exhibit 13




   433      April 17, 2015 - Letter from NPBL to NPBL005666         NPBL005667             Moss, Cannon           NO
            Jeff Yates                                                                     (2/14/2020)
                                                                                           Exhibit 14




   434      March 31, 2015 - Email between Moss NPBL010919          NPBL010922             Moss, Cannon           NO
            and Evans                                                                      (2/14/2020)
                                                                                           Exhibit 17




   435      July 1, 2016 - Email between Booth    NSR00001460                              Moss, Cannon           NO
            and Luebbers                                                                   (2/14/2020)
                                                                                           Exhibit 18




   436      VPA's Motion to Dismiss Verified      NPBL008630        NPBL008694             Moss, Cannon           NO
            Notice of Exemption                                                            (2/14/2020)
                                                                                           Exhibit 19




   437      July 31, 2015 - Letter from NS to     NPBL005634                               Moss, Cannon           NO
            Moss                                                                           (2/14/2020)
                                                                                           Exhibit 21




   438      April 26, 2016 - Email between Moss NPBL007808                                 Moss, Cannon           NO
            and NSR,CSXT                                                                   (2/14/2020)
                                                                                           Exhibit 22




   439      April 26, 2016 - Letter from NS to    NSR_00007168      NSR_00007169           Moss, Cannon           NO
            Moss                                                                           (2/14/2020)
                                                                                           Exhibit 23




   440      April 19, 2018 - Email from Moss to   NPBL005881        NPBL005882             Moss, Cannon           NO
            Jim (Special Fleet)                                                            (2/14/2020)
                                                                                           Exhibit 24




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                                                                                            Reference

   441      June 19, 2009 - Email between          NSR_00027096                             Moss, Cannon           NO
            Luebbers and Heller                                                             (2/14/2020)
                                                                                            Exhibit 26




   442      September 24, 2009 - NPBL Rate         NSR_00035903      NSR_00035906           Moss, Cannon           NO
            Committee Meeting Minutes                                                       (2/14/2020)
                                                                                            Exhibit 27




   443      December 31, 2010-19 - NPBL            NPBL012259                               Moss, Cannon           NO
            Financial Statements                   NPBL013210                               (2/14/2020)
                                                   NPBL013013                               Exhibit 29
                                                   NPBL011710
                                                   NPBL011398
                                                   NSR_00077377
                                                   NPBL010977
                                                   NPBL010601
                                                   NPBL017146
                                                   NPBL017205




   444      2015 - 2018 Bonus Program Memo         NPBL000425                               Moss, Cannon           NO
                                                   NPBL000522                               (2/14/2020)
                                                   NPBL000590                               Exhibit 30




   445      Rate Proposal for Long Term Rail       NPBL000189        NPBL000210             Moss, Cannon           NO
            Service to NIT Letter and Notes                                                 (2/14/2020)
                                                                                            Exhibit 32




   446      NPBL Responses to CSXT's First Set                                              Moss, Cannon           NO
            of Discovery                                                                    (2/14/2020)
                                                                                            Exhibit 33




   447      April 13, 2018 - Letter from Port of   CSXT0100713       CSXT0100714            Moss, Cannon           NO
            Virginia to Moss                                                                (2/14/2020)
                                                                                            Exhibit 34




   448      April 19, 2018 - Letter from NPBL to NPBL005878                                 Moss, Cannon           NO
            Reinhert (VPA)                                                                  (2/14/2020)
                                                                                            Exhibit 35




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                                                                                            Reference

   449      April 5, 2018 - Email between Moss     NPBL006228        NPBL006229             Moss, Cannon           NO
            and DiDeo                                                                       (2/14/2020)
                                                                                            Exhibit 36




   450      April 3, 2018 - Email between Heller   NSR_00006321                             Moss, Cannon           NO
            and Osborne                                                                     (2/14/2020)
                                                                                            Exhibit 38




   451      April 18, 2018 - NPBL BOD Meeting CSXT0101964            CSXT0101977            Moss, Cannon           NO
            Minutes                                                                         (2/14/2020)
                                                                                            Exhibit 39




   452      April 18, 2018 - NPBL BOD Meeting NSR_00000845           NSR_00000853           Moss, Cannon           NO
            Minutes                                                                         (2/14/2020)
                                                                                            Exhibit 40




   453      Moved to Joint Exhibit List
   454      Sale of PMT property ballots                                                    Moss, Cannon           NO
                                                                                            (2/14/2020)
                                                                                            Exhibit 43




   455      Pilot Article: At work with Donna                                               Coleman, Donna         NO
            Coleman of Belt Line Railroad                                                   (3/4/2020)
                                                                                            Exhibit 1




   456      NS email string re: signal and crossing NSR_00076988     NSR_00076989           Coleman, Donna         NO
            work on NPBL                                                                    (3/4/2020
                                                                                            Exhibit 2




   457      NPBL email string re: Ford             NPBL011659        NPBL011660             Coleman, Donna         NO
                                                                                            (3/4/2020
                                                                                            Exhibit 3




   458      NPBL board email string re: Moss for NSR_00072644        NSR_00072659           Coleman, Donna         NO
            president of belt line - CSXT requests                                          (3/4/2020
            consideration of MacDonald                                                      Exhibit 4




   459      Stinson/Allison email re: D Coleman    NPBL011661        NPBL011663             Coleman, Donna         NO
            meeting with Gloria Dana to discuss                                             (3/4/2020
            future with NS                                                                  Exhibit 5




   460      Beltline Map                                                                    Coleman, Donna         NO
                                                                                            (3/4/2020
                                                                                            Exhibit 6




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                                                                                             Reference

   461      4/3/2009 letter to NPBL from CSXT       NPBL006972        NPBL006974             Coleman, Donna         NO
            re: Proposed purchase of NPBL                                                    (3/4/2020
            property                                                                         Exhibit 8




   462      June 2009 Pinner's Point Appraisal      NPBL014367        NPBL014399             Coleman, Donna         NO
                                                                                             (3/4/2020
                                                                                             Exhibit 9




   463      2/2/2011 letter VPA to Coleman re:      NPBL014366                               Coleman, Donna         NO
            Letter of Intent to purchase NPBL                                                (3/4/2020
            property in Portsmouth                                                           Exhibit 10




   464      2011 NPBL board email string re:                                                 Coleman, Donna         NO
            Sewell's Point Operating agreement                                               (3/4/2020
                                                                                             Exhibit 11




   465      2009 email string re: NPBL proposed NSR_00183720          NSR_00183721           Coleman, Donna         NO
            sale to VPA                                                                      (3/4/2020
                                                                                             Exhibit 12




   466      2007 email string re: scheduling rate   NSR_00027549                             Coleman, Donna         NO
            committee meeting in October 2007.                                               (3/4/2020
                                                                                             Exhibit 13




   467      Letters re: Rate Committee (6/19/2009 NPBL009622          NPBL009625             Coleman, Donna         NO
            & 6/16/2009)                                                                     (3/4/2020
                                                                                             Exhibit 15




   468      6/19/2009 email Luebbers to Heller re: NSR_00027096                              Coleman, Donna         NO
            letter from Ingram re: CSXT request to                                           (3/4/2020
            lower intermodal rates on NPBL.                                                  Exhibit 16




   469      June 2009 email string Coleman and      NSR_00183825                             Coleman, Donna         NO
            Luebbers re: NPBL Rate Committee                                                 (3/4/2020
            members.                                                                         Exhibit 17




   470      7/16/2009 email Coleman to rate      NPBL008771           NPBL008820             Coleman, Donna         NO
            committee with packet of information                                             (3/4/2020
            for meeting                                                                      Exhibit 18




   471      7/29/2009 NS Internal Meeting Notes NSR_00027071          NSR_00027075           Coleman, Donna         NO
            from rate committee meeting                                                      (3/4/2020
                                                                                             Exhibit 19




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  Ex. No.   Description                           Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                           Reference

   472      9/24/2009 Recap of NPBL rate          NSR_00035903      NSR_00035906           Coleman, Donna         NO
            committee meeting for NS participates                                          (3/4/2020
            only.                                                                          Exhibit 20




   473      10/15/2009 CSXT to NPBL with          NPBL007140        NPBL007142             Coleman, Donna         NO
            CSXT recommendations to rate                                                   (3/4/2020
            committee.                                                                     Exhibit 21




   474      NS recommendations to NPBL rate       NPBL006574        NPBL006575             Coleman, Donna         NO
            committee                                                                      (3/4/2020
                                                                                           Exhibit 22




   475      CSXT Operating Plan                   NPBL027608        NPBL027612             Coleman, Donna         NO
                                                                                           (3/4/2020
                                                                                           Exhibit 24




   476      7/19/2010 Booth (CSXT) to NPBL re: CSXT0101891          CSXT0101897            Coleman, Donna         NO
            CSXT rail service connection to NIT -                                          (3/4/2020
            rate proposal and operating/financial                                          Exhibit 26
            plan


   477      7/23/2010 Booth (CSXT) to NPBL re: CSXT0025826          CSXT0025832            Coleman, Donna         NO
            CSXT rail service connection to NIT -                                          (3/4/2020
            rate proposal and operating/financial                                          Exhibit 27
            plan


   478      8/5/2010 NPBL to CSXT re: response NPBL007438           NPBL007439             Coleman, Donna         NO
            to CSXT rate proposal                                                          (3/4/2020
                                                                                           Exhibit 28




   479      8/16/2010 NPBL to CSXT re:            NPBL015679        NPBL015681             Coleman, Donna         NO
            response to 7/23/2010 rate proposal                                            (3/4/2020
                                                                                           Exhibit 29




   480      9/3/2010 CSXT Memorandum to           NSR_00000807      NSR_00000811           Coleman, Donna         NO
            NPBL Management and JLC re:                                                    (3/4/2020
            NPBL Management's response to                                                  Exhibit 30
            CSXT rate proposal.


   481      12/27/2010 CSXT memorandum to         CSXT0085585       CSXT0085588            Coleman, Donna         NO
            NPBL Board Members re: NPBL                                                    (3/4/2020
            Management Response to CSXT rate                                               Exhibit 31
            proposal.


   482      3/1/2011 Yates (NS) to Stinson        NPBL012988        NPBL012989             Coleman, Donna         NO
            (NPBL) re: operating plan for service                                          (3/4/2020
            btwn NS Junction and West Junction.                                            Exhibit 33




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                                                                                            Reference

   483      April 2011 Email string NPBL board NSR_00180594          NSR_00180595           Coleman, Donna         NO
            re: amendment to operating agreement                                            (3/4/2020
            and discussion on whether this should                                           Exhibit 34
            be for the shareholders or board


   484      3/23/2018 CSXT Rate Proposal (from CSXT0101884           CSXT0101889            Coleman, Donna         NO
            DiDeo)                                                                          (3/4/2020
                                                                                            Exhibit 35




   485      Coleman notes/quote re: 2018 CSXT      NPBL000189        NPBL000210             Coleman, Donna         NO
            rate proposal                                                                   (3/4/2020
                                                                                            Exhibit 36




   486      9/11/2018 letter NPBL to CSXT/NS       NPBL005840        NPBL005841             Coleman, Donna         NO
            re: CSXT's allegations against board                                            (3/4/2020
            and requests; and NS' response                                                  Exhibit 38




   487      May 18, 2018 letter CSXT to NPBL CSXT0102000             CSXT0102006            Coleman, Donna         NO
            and NS re: Objections to draft meeting                                          (3/4/2020
            minutes and approval of 2017 Annual                                             Exhibit 40
            Report at April 2018 meetings of the
            NPBL board and stockholders

   488      NPBL Analysis of Company's             NPBL012259                               Coleman, Donna         NO
            Financial Statements Year Ending       NPBL013210                               (3/4/2020
            December 31, 2010                      NPBL013013                               Exhibit 41
                                                   NPBL011710
                                                   NPBL011398
                                                   NSR_00077377
                                                   NPBL010977
                                                   NPBL010601
                                                   NPBL017146
                                                   NPBL017205




   489      NPBL Internal Audit & Compliance       NPBL010368        NPBL010375             Coleman, Donna         NO
            Final Audit Report (November 27,                                                (3/4/2020
            2012)                                                                           Exhibit 42




   490      Withdrawn
   491      2/14/2011 Email, Eliasson to Allison   CSXT0004190       CSXT0004192                                   IR, H
            re: Port Norfolk Property offer

   492      1/13/2016 email, Moss to Swafford    CSXT0005366         CSXT0005367                                   NO
            and Kendall re: updated cash flow,
            with spreadsheet.
   493      4/2/2015 email, MacDonald to Prevatt CSXT0010560                                                       NO
            re: NIT




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                                                                                           Reference

   494      4/2/2015 email, Yadon to MacDonald CSXT0010561                                                        IR, C
            re: NIT
   495      4/23/2015 email, MacDonald to        CSXT0010645        CSXT0010646                                   NO
            McKee re: CSX cars for NIT delivered
            4/23
   496      8/19/2015 email, Warren to           CSXT0010986        CSXT0010989                                   F, H, IR
            MacDonald re: Port of Virginia 
            Effinger reply
   497      8/19/2015 email, Warren to Effinger, CSXT0040003        CSXT0040006                                   F, H, DH, C
            Haselwood, OBrien re: Port of
            Virginia  Effinger reply
   498      Withdrawn
   499      Withdrawn
   500      Withdrawn
   501      Withdrawn
   502      Withdrawn
   503      Withdrawn
   504      Withdrawn
   505      Withdrawn
   506      Withdrawn
   507      3/20/2018 Girardot to Macdonald,     CSXT0064972        CSXT0064974                                   F, H, C
            Perry, Liby re: Portsmouth inbound

   508      Withdrawn
   509      4/20/2018 VIT and MSC re: Ticket      CSXT0065526       CSXT0065532                                   F, H, IR
            #57066-142991 RE: MEDU331953
            Original Ticket Included

   510      Withdrawn
   511      Withdrawn
   512      5/29/2018 VPA/VIT and MacDonald       CSXT0066199       CSXT0066202                                   NO
            re: Invoice for Barge Drayage

   513      Withdrawn
   514      Withdrawn
   515      Withdrawn
   516      Withdrawn
   517      Withdrawn
   518      Withdrawn
   519      Withdrawn
   520      Withdrawn
   521      Withdrawn
   522      Withdrawn
   523      2/6/2013 emails William Byrne and     CSXT0087556       CSXT0087558                                   F, H, CON, M, P
            Armbrust re: Perdue - New NPBL
            Draft
   524      5/24/2014 Warren and Armbrust re:     CSXT0088729       CSXT0088737                                   F, H, DH
            Norfolk issues

   525      Withdrawn
   526      Withdrawn
   527      Withdrawn
   528      Withdrawn
   529      Withdrawn
   530      Withdrawn
   531      Withdrawn
   532      2/5/2013 email, Kendall to Armbrust   CSXT0110976       CSXT0110978                                   F, H, CON
            re: Perdue - New NPBL Draft

   533      Withdrawn
   534      Withdrawn
   535      Withdrawn
   536      Withdrawn
   537      Withdrawn
   538      Withdrawn
   539      Withdrawn



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  Ex. No.   Description                            Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                            Reference

   540      1/27/2011 email from Coleman to        CSXT0126034       CSXT0126037                                   F, H
            board members re: Port Norfolk
            Property offer and follow-up emails.
   541      Withdrawn
   542      Withdrawn
   543      1/27/2011 email from Coleman to        CSXT0126049       CSXT0126050                                   F, H, C
            board members re: Port Norfolk
            Property offer and follow-up emails.

   544      Withdrawn
   545      Withdrawn
   546      Withdrawn
   547      1/27/2011 email from Coleman to        NPBL022434        NPBL022435                                    F, H, C
            board members re: Port Norfolk
            Property offer and follow-up emails.

   548      Withdrawn
   549      2011 NS emails re: Port Norfolk        NSR_00073015      NSR_00073018                                  NO
            Property offer


   550      Withdrawn
   551      Withdrawn
   552      4/23/2015 email Macdonald to VIT re: CSXT0154019         CSXT0154020                                   F, H, C
            CSX Cars for NIT Delivered 4/23

   553      5/2015 emails, Moss, CSXT and VIT CSXT0154048            CSXT0154049                                   NO
            re: Plan for CSX Loading


   554      5/2015 emails, Moss, CSXT and VIT      NPBL005645        NPBL005646                                    F, H
            re: Plan for CSX Loading
   555      5/2015 emails, Moss, CSXT and VIT      NPBL008886        NPBL008890                                    F, H
            re: Plan for CSX Loading
   556      Withdrawn
   557      Withdrawn
   558      5/2015 emails, Moss, CSXT and VIT      NPBL024407        NPBL024408                                    NO
            re: Plan for CSX Loading
   559      5/2015 emails, Moss, CSXT and VIT      NPBL024420        NPBL024422                                    F, H, C
            re: Plan for CSX Loading
   560      Withdrawn
   561      5/2015 emails, Moss, CSXT and VIT      NPBL024427        NPBL024431                                    F, H, C
            re: Plan for CSX Loading
   562      5/20/2015 - 5/22/2015 email, VIT to    NPBL019385        NPBL019389                                    F, H
            NPBL, TTX and CSX re: Plan for
            CSX Loading

   563      5/2015 emails, Moss, CSXT and VIT NPBL019390             NPBL019391                                    F, H, C
            re: Plan for CSX Loading


   564      5/20/2015 - 5/22/2015 email, VIT to    NPBL019392        NPBL019394                                    F, H, C
            NPBL, TTX and CSX re: Plan for
            CSX Loading

   565      Withdrawn
   566      4/23/2015 email, McKee to Moss,    NPBL019454            NPBL019455                                    F, C
            MacDonald, Ohare re: CSX Cars for
            NIT Delivered 4/23 and follow up
            emails
   567      Withdrawn
   568      Withdrawn
   569      Withdrawn
   570      Withdrawn
   571      Withdrawn
   572      Withdrawn




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  Ex. No.   Description                             Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                             Reference

   573      Withdrawn
   574      Withdrawn
   575      Withdrawn
   576      Withdrawn
   577      Withdrawn
   578      Withdrawn
   579      Withdrawn
   580      Withdrawn
   581      Withdrawn
   582      Withdrawn
   583      Withdrawn
   584      Withdrawn
   585      Withdrawn
   586      Withdrawn
   587      Withdrawn
   588      Withdrawn
   589      Withdrawn
   590      Withdrawn
   591      Withdrawn
   592      CSX Operation Plan, dated May 20, CSXT0025736             CSXT0025739                                   F
            2010
   593      July 2, 2019 Agreement between VIT CSXT0077017            CSXT0077018                                   F
            and CSXT for lift and dray services,
            signed by Ms. Kenney and Mr.
            Capozzi on July 18, 2019
   594      Withdrawn
   595      Withdrawn
   596      VPA 2040 Master Plan Executive       CSXT0024640          CSXT0024707                                   F
            Summary, Draft  December 2008

   597      2020-2021 Commonwealth Railway,                                                  D.E. 297-10            F, H
            Inc. Tariff CWRY 7006-13
   598      2015 CWRY and CSXT Contract             CSXT0076247       CSXT0076250            CSXT 30(b)(6)          NO
                                                                                             (January 13, 2021)
                                                                                             Exhibit 24


   599      Withdrawn
   600      Withdrawn
   601      Withdrawn
   602      Withdrawn
   603      March 2015 email string re: Baltimore CSXT0001240         CSXT0001241                                   H, F, DH
            interest
   604      March 2015 email string re: NPBL to CSXT0001278           CSXT0001278                                   H, F, DH
            NIT
   605      March 2015 email string re: NIT       CSXT0001283         CSXT0001284                                   F, H

   606      March 2015 email string re: NIT         CSXT0001289       CSXT0001290                                   F, H

   607      March 2015 email string re: NIT         CSXT0001291       CSXT0001292                                   F, H

   608      October 2015 email string re: CWRY      CSXT0001796       CSXT0001796                                   F, H, DH
            rate negotiations
   609      November 2015 email string re: CSX      CSXT0001812       CSXT0001813                                   F, H, DH
            CWRY Proposal
   610      January 2018 emails string re: latest   CSXT0003579       CSXT0003580                                   NO
            rail lift fee at NIT
   611      NIT Access Discussion                   CSXT0003594       CSXT0003594                                   F, C

   612      January 2016 email re: updated cash     CSXT0005366       CSXT0005366                                   NO
            flows with no rate change
   613      Withdrawn
   614      January 2014 email string re: article   CSXT0009217       CSXT0009223                                   F, H, DH

   615      July 2014 email string re: meeting      CSXT0009730       CSXT0009732                                   NO
            with VPA/John Reinhart



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  Ex. No.   Description                              Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                              Reference

   616      Withdrawn
   617      October 2015 email string re: CWRY       CSXT0011038       CSXT0011042                                   F, H, CON
            follow-up
   618      November 2015 email string re:           CSXT0011164       CSXT0011166                                   F, H, DH, CON, C
            CWRY rate negotiations
   619      April 2018 email string re: Rate         CSXT0013462       CSXT0013462                                   NO
            Proposal for Long Term Rail Service
            to NIT
   620      April 2018 email string re: Rate         CSXT0013465       CSXT0013466                                   NO
            Proposal for Long Term Rail Service
            to NIT
   621      April 2018 email string re: Rate         CSXT0013468       CSXT0013469                                   NO
            Proposal for Long Term Rail Service
            to NIT
   622      April 20, 2009 letter, Coleman to        CSXT0024757       CSXT0024794                                   NO
            Ingram
   623      Withdrawn
   624      Withdrawn
   625      Withdrawn
   626      March 2015 email string re: Norfolk      CSXT0036723       CSXT0036726                                   F, H, DH

   627      March 2015 email string re: state of     CSXT0036827       CSXT0036828                                   F, H, DH
            the port
   628      Withdrawn
   629      Withdrawn
   630      CMA Virginia Options                     CSXT0037060       CSXT0037060                                   F, C

   631      April 2015 email string re: rail drays   CSXT0037070       CSXT0037071                                   F, H

   632      April 2015 email string re: rail drays   CSXT0037080       CSXT0037081                                   F, H, C

   633      Withdrawn
   634      Withdrawn
   635      Withdrawn
   636      Withdrawn
   637      Withdrawn
   638      Withdrawn
   639      Withdrawn
   640      April 2015 email string re: X10008       CSXT0037372       CSXT0037373                                   F, H

   641      April 2015 email string re: CMA CSX CSXT0037723            CSXT0037726                                   F, H, CON, IR

   642      Withdrawn
   643      Withdrawn
   644      Withdrawn
   645      Withdrawn
   646      Withdrawn
   647      Withdrawn
   648      Withdrawn
   649      Withdrawn
   650      Withdrawn
   651      April 2015 email string re: NIT          CSXT0038016       CSXT0038017                                   F, H

   652      Withdrawn
   653      Withdrawn
   654      Withdrawn
   655      May 2015 email string re: CMA CSX CSXT0038248              CSXT0038254                                   F, H, C, DH, CON

   656      Withdrawn
   657      Withdrawn
   658      Withdrawn
   659      Withdrawn
   660      Withdrawn
   661      Withdrawn
   662      Withdrawn
   663      Withdrawn



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  Ex. No.   Description                             Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                             Reference

   664      Withdrawn
   665      Withdrawn
   666      Withdrawn
   667      Withdrawn
   668      Withdrawn
   669      Withdrawn
   670      Withdrawn
   671      Trackage Rights Agreement btwn          CSXT0049589       CSXT0049611                                   F
            CSX and CWRY
   672      Withdrawn
   673      Withdrawn
   674      Withdrawn
   675      Withdrawn
   676      January 2017 email string re: NIT       CSXT0052112       CSXT0052117                                   F, H, CON, M, IR
            Containers
   677      Withdrawn
   678      Withdrawn
   679      Withdrawn
   680      Withdrawn
   681      Withdrawn
   682      Withdrawn
   683      Withdrawn
   684      Withdrawn
   685      Withdrawn
   686      Withdrawn
   687      Agreement between Seaboard Coast        CSXT0052174       CSXT0052179                                   F
            and Portsmouth
   688      Withdrawn
   689      January 2017 email string re: Will it   CSXT0052424       CSXT0052425                                   F
            work
   690      Withdrawn
   691      April 2017 email string re: beltline    CSXT0055535       CSXT0055535                                   F, H
            changes
   692      Withdrawn
   693      Withdrawn
   694      Withdrawn
   695      Withdrawn
   696      Withdrawn
   697      Withdrawn
   698      Withdrawn
   699      Withdrawn
   700      Withdrawn
   701      Withdrawn
   702      Withdrawn
   703      Withdrawn
   704      Withdrawn
   705      Withdrawn
   706      Withdrawn
   707      Withdrawn
   708      Withdrawn
   709      Withdrawn
   710      Withdrawn
   711      Withdrawn
   712      Withdrawn
   713      Withdrawn
   714      May 2018 email re: HST                  CSXT0065784       CSXT0065784                                   F, H, IR

   715      Withdrawn
   716      Withdrawn
   717      Withdrawn
   718      June 2018 email re: VA Intel            CSXT0066751       CSXT0066751                                   F, H, IR, CON, P

   719      Withdrawn
   720      Withdrawn
   721      Withdrawn



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  Ex. No.   Description                         Bates Begin        Bates End              Dep. Exhibit or Alt.   Objections
                                                                                          Reference

   722      Withdrawn
   723      Withdrawn
   724      Withdrawn
   725      Withdrawn
   726      Withdrawn
   727      Withdrawn
   728      March 2019 email string re: SAV-CHI CSXT0073500        CSXT0073505                                   F, H, IR, CON, C

   729      Withdrawn
   730      Withdrawn
   731      Withdrawn
   732      Withdrawn
   733      Withdrawn
   734      Withdrawn
   735      Withdrawn
   736      Withdrawn
   737      Withdrawn
   738      Withdrawn
   739      Withdrawn
   740      Withdrawn
   741      Withdrawn
   742      Withdrawn
   743      August 2009 email string re: other     CSXT0081402     CSXT0081402                                   F, H
            shortline tariffs
   744      Withdrawn
   745      Summary of September 24, 2009          CSXT0082057     CSXT0082060                                   NO
            NPBL rate committee
   746      October 2009 email string re: rate     CSXT0082066     CSXT0082067                                   NO
            committee info
   747      February 2010 email string re: X Train CSXT0082613     CSXT0082615                                   F, H

   748      Withdrawn
   749      Withdrawn
   750      Withdrawn
   751      August 2010 email string re: Revised CSXT0083752       CSXT0083752                                   F
            Operating Plan/Rate Request
   752      Withdrawn
   753      Withdrawn
   754      January 2011 email string re: Port    CSXT0085676      CSXT0085678                                   F, H
            Norfolk Property offer
   755      Withdrawn
   756      October 2014 email string re: NPBRR - CSXT0089144      CSXT0089146                                   F, H
            lease on Port Norfolk yard tracks
            1,3,& 7 in Portsmouth, VA.

   757      Withdrawn
   758      Withdrawn
   759      Withdrawn
   760      Withdrawn
   761      Withdrawn
   762      Withdrawn
   763      Withdrawn
   764      Withdrawn
   765      March 2015 email re: NIT            CSXT0089987        CSXT0089991                                   F, H

   766      March 2015 email string re: NIT     CSXT0089992        CSXT0089996                                   F, H, CON

   767      Withdrawn
   768      Withdrawn
   769      Withdrawn
   770      April 2015 email string re: NIT     CSXT0090235        CSXT0090235                                   NO
            Access...Customer Loss
   771      April 2015 email string re: NIT     CSXT0090236        CSXT0090236                                   NO
            Access...Customer Loss
   772      April 2015 email string re: NIT     CSXT0090237        CSXT0090237                                   NO
            Access...Customer Loss



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  Ex. No.   Description                         Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                         Reference

   773      April 2015 email string re: NIT     CSXT0090238       CSXT0090238                                   NO
            Access...Customer Loss
   774      April 2015 email string re: NIT     CSXT0090247       CSXT0090247                                   NO
            Access...Customer Loss
   775      CSX Railroads and Highways in the   CSXT0090249       CSXT0090249                                   F
            Norfolk/Portsmouth Area
   776      Photo of bridge                     CSXT0090250       CSXT0090250                                   F

   777      Withdrawn
   778      Withdrawn
   779      Withdrawn
   780      Withdrawn
   781      Withdrawn
   782      Withdrawn
   783      Withdrawn
   784      Withdrawn
   785      Withdrawn
   786      Withdrawn
   787      January 2017 email string re: Barge CSXT0096712       CSXT0096715                                   F, H, C
            analysis: HIGHLY CONFIDENTIAL

   788      Withdrawn
   789      February 2017 email string re: OOCL CSXT0096891       CSXT0096892                                   F, CON
            in Norfolk/NPBL Questions-
            ATTORNEY CLIENT PRIVILEGED
            COMMUNICATION

   790      March 2017 email string re: OOCL    CSXT0096945       CSXT0096946                                   F, H, DH, C

   791      March 2017 email string re: OOCL    CSXT0096961       CSXT0096963                                   NO

   792      Withdrawn
   793      Withdrawn
   794      Withdrawn
   795      Withdrawn
   796      Withdrawn
   797      Withdrawn
   798      Withdrawn
   799      Withdrawn
   800      March 2017 email string re: OOCL    CSXT0117047       CSXT0117049                                   F, H, C

   801      Withdrawn
   802      February 2018 email string re: NPBL CSXT0119366       CSXT0119372                                   F, H
            costing analysis
   803      March 2018 email string re: Rate     CSXT0119596      CSXT0119596                                   NO
            Proposal for Long Term Intermodal
            service to NIT
   804      April 2018 email string re: Rate     CSXT0119620      CSXT0119621                                   NO
            Proposal for Long Term Intermodal
            service to NIT
   805      Withdrawn
   806      Withdrawn
   807      Withdrawn
   808      Withdrawn
   809      October 2018 email re: CSX           CSXT0148130      CSXT0148130                                   F
            Complaint
   810      Withdrawn
   811      June 2015 email string re: CSXT Rail CSXT0154056      CSXT0154057                                   NO
            cars at NIT
   812      Withdrawn
   813      August 2015 re: Trackage Rights      NPBL005632       NPBL005633                                    NO
            Termination Notice
   814      Withdrawn
   815      December 2018 NPBL Board Meeting NPBL005702           NPBL005714                                    IR, C
            presentation
   816      Withdrawn



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  Ex. No.   Description                            Bates Begin       Bates End              Dep. Exhibit or Alt.   Objections
                                                                                            Reference

   817      Withdrawn
   818      Withdrawn
   819      April 24, 2008 letter to STB from NS                                            DE 299-4               NO
            re: Discontinuance of Service
   820      Cars Delievered by Commodity                                                    DE 300-3               F
   821      Photographs of Norfolk International                                                                   ID, NP, as described in
            Terminal                                                                                               November 14, 2022 letter
                                                                                                                   from R. McFarland
   822      Photographs of rail cars                                                                               ID, NP, as described in
                                                                                                                   November 14, 2022 letter
                                                                                                                   from R. McFarland
   823      Photographs of NPBL/NS tracks                                                                          ID, NP, as described in
                                                                                                                   November 14, 2022 letter
                                                                                                                   from R. McFarland
   824      CSXT's Objections and Responses to                                                                     C, NP, ID
            NPBL's First Interrogatories and
            Requests for Admission (3/25/2020)
   825      CSXT's First Supplemental Answers                                                                      C, NP, ID
            to NPBL's First Interrogatories
   826      CSXT's Second Supplemental                                                                             C, NP, ID
            Answers to NPBL's First
            Interrogatories
   827      CSXT's Second Supplemental                                                                             C, NP, ID
            Answers to NPBL's Interrogatories
            numbers 3 and 4
   828      Withdrawn
   829      Any demonstrative exhibits                                                                             C, NP, ID




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